Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 1 of 140 PageID #: 11562




                      Exhibit 18
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 2 of 140 PageID #: 11563


1               IN THE UNITED STATES DISTRICT COURT
2            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
3                        CHARLESTON DIVISION
4
5     B.P.J. by her next friend and                        )
      mother, HEATHER JACKSON,                             )
6                                                          )
                   Plaintiff,                              )
7                                                          )
                   vs.                                     ) Civil Action No.
8                                                          ) 2:21-cv-00316
      WEST VIRGINIA STATE BOARD OF                         )
9     EDUCATION, HARRISON COUNTY BOARD                     )
      OF EDUCATION, WEST VIRGINIA                          )
10    SECONDARY SCHOOL ACTIVITIES                          )
      COMMISSION, W. CLAYTON BURCH in                      )
11    his official capacity as State                       )
      Superintendent, DORA STUTLER in                      )
12    her official capacity as                             )
      Harrison County Superintendent,                      )
13    and THE STATE OF WEST VIRGINIA,                      )
                                                           )
14                 Defendants.                             )
                                                           )
15                 and                                     )
                                                           )
16    LAINEY ARMISTEAD,                                    )
                                                           )
17             Defendant-Intervenor.                       )
      ________________________________                     )
18
19           VIRTUAL VIDEOCONFERENCE VIDEO-RECORDED
20                 DEPOSITION OF MICHELE BLATT
21                  Monday, February 14, 2022
22    Remotely Testifying from Charleston, West Virginia
23
24      Reported By: Hanna Kim, CLR, CSR No. 13083
25       Job No. 5079505

                                                                     Page 1

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 3 of 140 PageID #: 11564


1               IN THE UNITED STATES DISTRICT COURT
2            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
3                        CHARLESTON DIVISION
4
5     B.P.J. by her next friend and                        )
      mother, HEATHER JACKSON,                             )
6                                                          )
                   Plaintiff,                              )
7                                                          )
                   vs.                                     ) Civil Action No.
8                                                          ) 2:21-cv-00316
      WEST VIRGINIA STATE BOARD OF                         )
9     EDUCATION, HARRISON COUNTY BOARD                     )
      OF EDUCATION, WEST VIRGINIA                          )
10    SECONDARY SCHOOL ACTIVITIES                          )
      COMMISSION, W. CLAYTON BURCH in                      )
11    his official capacity as State                       )
      Superintendent, DORA STUTLER in                      )
12    her official capacity as                             )
      Harrison County Superintendent,                      )
13    and THE STATE OF WEST VIRGINIA,                      )
                                                           )
14                 Defendants.                             )
                                                           )
15                 and                                     )
                                                           )
16    LAINEY ARMISTEAD,                                    )
                                                           )
17             Defendant-Intervenor.                       )
      ________________________________                     )
18
19              Virtual videoconference video-recorded
20      deposition of MICHELE BLATT, taken pursuant to the
21      stipulations of counsel thereof, taken on behalf
22      of the Plaintiff, on Monday, February 14, 2022,
23      remotely testifying from Charleston, West
24      Virginia, before Hanna Kim, CLR, Certified
25      Shorthand Reporter, No. 13083.

                                                                     Page 2

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 4 of 140 PageID #: 11565


1          REMOTE VIDEOCONFERENCE APPEARANCES OF COUNSEL:
2
3       For Plaintiff B.P.J.:
4                  COOLEY LLP
5                    BY:     JULIE VEROFF, ESQ.
6                    BY:     KATHLEEN HARTNETT, ESQ.
7                    BY:     ANDREW BARR, ESQ.
8                    BY:     KATELYN KANG, ESQ.
9                    BY:     ELIZABETH REINHARDT, ESQ.
10                   BY:     ZOE HELSTROM, ESQ.
11                   3 Embarcadero Center, 20th Floor
12                   San Francisco, California 94111
13                   415.693.2000
14                   khartnett@cooley.com
15                   -and-
16                   AMERICAN CIVIL LIBERTIES UNION OF WEST
17                   VIRGINIA FOUNDATION
18                   BY:     LOREE STARK, ESQ.
19                   BY:     NICHOLAS WARD, ESQ.
20                   BY:     JOSH BLOCK, ESQ.
21                   P.O. Box 3952
22                 Charleston, West Virginia 25339-3952
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24                   lstark@acluwv.org
25

                                                                   Page 3

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 5 of 140 PageID #: 11566


1         REMOTE VIDEOCONFERENCE APPEARANCES OF COUNSEL:
2                                  (CONTINUED)
3       For Plaintiff, B.P.J.:            (Continued)
4                   LAMBDA LEGAL
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9                   212.809.8585
10                  sswaminathan@lambdalegal.org
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12       For Defendant West Virginia Board of Education and
13      Superintendent Clayton Burch;
14                 BAILEY & WYANT P.L.L.C.
15                  BY:    KELLY C. MORGAN, ESQ.
16                  BY:    KRISTEN V. HAMMOND, ESQ.
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19                  Charleston, West Virginia 25301
20                  304.720.0711
21                  kmorgan@baileywyant.com
22
23
24
25

                                                                   Page 4

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 6 of 140 PageID #: 11567


1         REMOTE VIDEOCONFERENCE APPEARANCES OF COUNSEL:
2                                  (CONTINUED)
3       For Defendant State of West Virginia:
4                   SPECIAL ASSISTANT TO THE ATTORNEY
5                   BY:    DAVID C. TRYON, ESQ.
6                   BY:    CURTIS CAPEHART, ESQ.
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8                   112 California Avenue, Bldg. 6, Room 430
9                   Charleston, West Virginia 25305-0220
10                  304.558.2021
11                  david.c.tryon@WVAGO.gov
12
13       For Defendant Harrison County Board of Education
14      and Superintendent Dora Stutler:
15                  STEPTOE & JOHNSON PLLC
16                  BY:    SUSAN DENIKER, ESQ.
17                  400 White Oaks Blvd.
18                  Bridgeport, West Virginia 26330
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20                  susan.deniker@steptoe-johnson.com
21
22
23
24
25

                                                                   Page 5

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 7 of 140 PageID #: 11568


1          REMOTE VIDEOCONFERENCE APPEARANCES OF COUNSEL:
2                                    (CONTINUED)
3       For Defendant West Virginia Secondary School
4       Activities Commission:
5                    SHUMAN McCUSKEY SLICER PLLC
6                    BY:    ROBERTA GREEN, ESQ.
7                    1411 Virginia Street, E., Suite 200
8                    Charleston, West Virginia 25301
9                    304.345.1400
10                   rgreen@shumanlaw.com
11
12       For the Defendant-Intervenor Lainey Armistead:
13                   ALLIANCE DEFENDING FREEDOM
14                   BY:    HAL FRAMPTON, ESQ.
15                   BY:    KATIE KELLY, ESQ.
16                   BY:    TIMOTHY DUCAR, ESQ.
17                   15100 N. 90th Street
18                   Scottsdale, Arizona 85260
19                   480.444.0020
20
21       Also Present:
22                 MITCH REISBORD, Concierge
23                   DAVE HALVORSON, Videographer
24
25

                                                                   Page 6

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 8 of 140 PageID #: 11569


1                           INDEX OF EXAMINATION
2
3       WITNESS:     MICHELE BLATT
4       EXAMINATION                                                     PAGE
5                BY MS. VEROFF:                                             13
6                BY MS. GREEN:                                            129
7                BY MS. MORGAN:                                           134
8
9
10
11
12
13
14
15
16
17
18
19
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21
22
23
24
25

                                                                   Page 7

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 9 of 140 PageID #: 11570


1                              INDEX OF EXHIBITS
2
3     BLATT DEPOSITION EXHIBITS                                         PAGE
4     Exhibit 15         "Plaintiff's Notice of 30(b)(6)                    17
5                        Deposition"; 9 pages
6     Exhibit 16         Printout from web page from West                   46
7                        Virginia Department of
8                        Education's website titled "State
9                        Board of Education"; 3 pages
10    Exhibit 17         "Defendants West Virginia State                    50
11                       Board of Education and
12                       Superintendent W. Clayton Burch's
13                       Responses to Plaintiff's First
14                       Set of Requests for Production to
15                       Defendant State Board of West
16                       Virginia and W. Clayton Burch";
17                       57 pages
18    Exhibit 18         "Defendants West Virginia State                    68
19                       Board of Education and
20                       Superintendent W. Clayton Burch's
21                       Responses to Plaintiff's First
22                       Set of Interrogatories to
23                       Defendants State Board of West
24                       Virginia and W. Clayton Burch";
25                       12 pages

                                                                   Page 8

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 10 of 140 PageID #: 11571


 1                     INDEX OF EXHIBITS (CONTINUED)
 2
 3       BLATT DEPOSITION EXHIBITS                                      PAGE
 4     Exhibit 19        E-mail set, with top e-mail from                75
 5                       Heather Hutchens, March 15, 2021;
 6                       Bates nos.        WVSBOE 000006 through
 7                       '000009
 8     Exhibit 20        E-mail from Melissa White, dated               102
 9                       March 17, 2021, and attachment;
10                       Bates nos. WVSBOE 000002 through
11                       '000005
12     Exhibit 21        "2021 Green Book Summary of                    105
13                       Public Education Bills Enacted
14                       During the 2021 Regular Session";
15                       24 pages
16     Exhibit 22        "Enrolled Bill Review Form 2021                110
17                       Regular Session"; 2 pages
18     Exhibit 23        E-mail from Sarah Stewart to                   120
19                       Heather Hutchens, subject:
20                       "Fyi," dated July 1, 2021; Bates
21                       nos. WVSBOE 000001
22                                    --o0o--
23
24
25

                                                                   Page 9

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 11 of 140 PageID #: 11572


 1      Remotely Testifying from Charleston, West Virginia

 2          Monday, February 14, 2022; 12:09 p.m., EST

 3                               --o0o--

 4                THE VIDEOGRAPHER:        Okay.    Good afternoon.

 5      We are on the record at 12:09 p.m. on                           12:09:56

 6      February 14th, 2022.

 7                This is Media Unit 1 in the video-recorded

 8      deposition of Michele Blatt, in the matter of

 9      B.P.J. and Heather Jackson versus West Virginia

10      State Board of Education, et al.                                12:10:15

11                It's filed in the Southern District of

12      West Virginia in -- in the Charleston Division.

13      The case number is 2:21-cv-00316.

14                This deposition is being held virtually.

15                My name is Dave Halvorson.          I'm the           12:10:31

16      videographer here from Veritext.           And I'm here with

17      the court reporter, Hanna Kim, also from Veritext.

18                Counsel, can you please all identify

19      yourselves so the witness can be sworn in.

20                MS. VEROFF:     Good morning.       This is Julie     12:10:44

21      Veroff from Cooley LLP.      I'm an attorney

22      representing Plaintiff B.P.J.

23                MS. HARTNETT:     This is Kathleen Hartnett

24      from Cooley, also for Plaintiff.

25                MR. BARR:     Andrew Barr, also from Cooley           12:11:02

                                                                       Page 10

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 12 of 140 PageID #: 11573


 1      and also for Plaintiff.

 2                MS. KANG:     Katelyn Kang, also from Cooley,

 3      also for Plaintiff.

 4                MS. REINHARDT:     Elizabeth Reinhardt, also

 5      from Cooley, also for Plaintiff.                             12:11:19

 6                MS. HELSTROM:     Zoe Helstrom from Cooley

 7      for Plaintiff.

 8                MS. STARK:     Loree Stark with the ACLU of

 9      West Virginia for Plaintiff.

10                MR. WARD:     Nicholas Ward with the ACLU of       12:11:29

11      West Virginia on behalf of Plaintiff.

12                MR. BLOCK:     Josh Block from the ACLU on

13      behalf of Plaintiff.

14                MS. SWAMINATHAN:      Sruti Swaminathan from

15      Lambda Legal on behalf of Plaintiff.                         12:11:40

16                MS. SMITH-CARRINGTON:        Avatara

17      Smith-Carrington from Lambda Legal on behalf of

18      Plaintiff.

19                MS. MORGAN:     This is Kelly Morgan on

20      behalf of the West Virginia Board of Education and           12:12:01

21      Superintendent Clayton Burch, as well as Heather

22      Hutchens, as general counsel for the West Virginia

23      State Board.

24                And on Zoom as well is Kristen Hammond.

25                MR. TRYON:     This is David Tryon on behalf       12:12:19

                                                                    Page 11

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 13 of 140 PageID #: 11574


 1      of the State of West Virginia.

 2                  Curtis Capehart is also on the line on

 3      behalf of the State.

 4                  MS. DENIKER:     Susan Deniker on behalf of

 5      Harrison County Board of Education and                       12:12:36

 6      Superintendent Dora Stutler.

 7                  MS. GREEN:     Roberta Green here on behalf

 8      of West Virginia Secondary School Activities

 9      Commission.

10                  MS. FRAMPTON:     Hal Frampton from Alliance     12:12:48

11      Defending Freedom for the Defendant-Intervenor

12      Lainey Armistead.

13                  Also on Zoom for the intervenor are Katie

14      Kelly and Timothy Ducar.

15                  THE COURT REPORTER:       I'm going to           12:13:02

16      administer the oath to the witness.

17

18                           MICHELE BLATT,

19             having been duly administered an oath over

20      videoconference as stipulated by all counsel, was

21                 examined and testified as follows:

22

23             THE VIDEOGRAPHER:     Okay.    You may proceed.

24      ///

25       ///

                                                                    Page 12

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 14 of 140 PageID #: 11575


 1                             EXAMINATION

 2      BY MS. VEROFF:

 3          Q.    Good morning, Ms. Blatt.         Thank you so

 4      much for being here.

 5                Good afternoon in West Virginia.                   12:13:39

 6                How are you doing today?

 7          A.    Good.   Thank you.

 8          Q.    Yep.

 9                Would you mind stating and spelling your

10      name for the record, please.                                 12:13:46

11          A.    Michele Blatt.       It's M-I-C-H-E-L-E,

12      B-L-A-T-T.

13          Q.    Thank you.     And is it okay to refer to you

14      as "Ms. Blatt," or would you prefer a different

15      salutation?                                                  12:14:00

16          A.    Michele's fine.

17          Q.    Michele.     Okay.    Thank you.

18                And so before we dive into questions, I

19      have just a few keeping housekeeping items to go

20      through with you.                                            12:14:10

21                So the oath you've just taken today is the

22      same oath as if you were testifying in a

23      courtroom.    You must testify truthfully and not

24      leave out any important fact.

25                Is there any reason you cannot testify             12:14:19

                                                                    Page 13

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 15 of 140 PageID #: 11576


 1      truthfully today?

 2          A.    No.

 3          Q.    Please give verbal answers to my

 4      questions.      Nonverbal answers, like nodding or

 5      shaking your head, can't be taken down by the                12:14:28

 6      court reporter.

 7                If you don't understand a question, please

 8      just let me know, and I'd be happy to repeat it or

 9      to rephrase.

10                If you answer, I'll assume you understood.         12:14:38

11                And just to be clear, when I ask

12      questions, I'm not seeking confidential

13      communications that you had with your attorney.

14                And, lastly, to enable the court reporter

15      to take down a clean record, we should do our best           12:14:51

16      to avoid speaking at the same time.

17                So please allow me to try and finish a --

18      a question before you answer, and I'll do my very

19      best not to speak over you.

20                Does all that sound okay?                          12:15:04

21          A.    Yes.

22          Q.    Okay.     Great.

23                And just a few shorthands that I'm

24      planning to use through today's deposition.         I'm

25      going to use the shorthand "State Board" when                12:15:14

                                                                    Page 14

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 16 of 140 PageID #: 11577


 1      referring to the West Virginia State Board of

 2      Education.

 3                  Is that okay with you?

 4          A.      Yes.

 5          Q.      I'm also going to use "H.B. 3293" when           12:15:23

 6      referring to House Bill 3293, which is codified at

 7      West Virginia Code Section 18-2-25d.

 8                  Is that okay with you?

 9          A.      Yes.

10          Q.      Great.                                           12:15:36

11                  And during this deposition, I'm going to

12      have a few questions that use the terms

13      "cisgender" and "transgender."

14                  And so for purposes of this deposition,

15      when I say the term "cisgender," what I mean is              12:15:47

16      someone's whose gender identity matches the sex

17      they were assigned at birth.

18                  Does that make sense?

19          A.      Yes.

20          Q.      Great.                                           12:15:56

21                  And for purposes of this deposition, when

22      I say "transgender," I mean someone whose gender

23      identity does not match the sex they were assigned

24      at birth.

25                  Does that make sense?                            12:16:07

                                                                    Page 15

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 17 of 140 PageID #: 11578


 1          A.    Yes.

 2          Q.    Great.

 3                And, lastly, when I say "B.P.J.," I'm

 4      referring to the Plaintiff in this case.

 5                Does that make sense?                              12:16:14

 6          A.    Yes.

 7          Q.    Great.

 8                So with all that out of the way, I want to

 9      chat a little bit about your experience with

10      depositions and preparation for today's                      12:16:23

11      deposition.

12                Have you ever had your deposition taken

13      before?

14          A.    I have not.

15          Q.    And have you ever testified at trial?              12:16:31

16          A.    I have not.

17          Q.    Well, hopefully this will be an easy and

18      pain-free first deposition experience.

19                Did you bring anything to today's

20      deposition?                                                  12:16:44

21          A.    I just have a copy of the House Bill 3293

22      that was codified.

23          Q.    Great.

24                And do you have any notes or annotations

25      on that copy of House Bill 3293?                             12:16:53

                                                                    Page 16

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 18 of 140 PageID #: 11579


 1          A.    No.

 2          Q.    And do you understand that you're here in

 3      response to a 30(b)(6) deposition notice?

 4          A.    Yes.

 5          Q.    Do you know what a 30(b)(6) deposition is?         12:17:07

 6          A.    Yes.     I just learned that Friday.

 7          Q.    Excellent.

 8                And have you had a chance to review the

 9      deposition notice?

10          A.    Yes.                                               12:17:17

11          Q.    Great.

12                And so you're familiar with a 12 topics

13      described in the notice?

14          A.    Yes.

15          Q.    Wonderful.                                         12:17:25

16                So if you'll please go into your "Marked

17      Exhibits" folder on Exhibit Share, you should see

18      Exhibit 15.

19                Please go ahead and open that exhibit, and

20      let me know when you have it open.                           12:17:37

21                MS. MORGAN:     We have it open.

22                MS. VEROFF:     Wonderful.

23                (Blatt Deposition Exhibit 15 was marked

24                electronically.)

25      BY MS. VEROFF:                                               12:17:45

                                                                    Page 17

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 19 of 140 PageID #: 11580


 1          Q.    So if you'll please scroll to page, I

 2      believe it's 6 -- or maybe -- I'm sorry, page 4 of

 3      the PDF, you'll see "Definitions."          And if you

 4      scroll to page 6, you'll see "Topics of

 5      Examination."                                                  12:17:58

 6                Do you see that?

 7          A.    Yes.

 8                THE COURT REPORTER:       Counsel?

 9                MS. VEROFF:    Yes.

10                THE COURT REPORTER:       I need to go off the       12:18:08

11      record for an audio issue, please.

12                THE VIDEOGRAPHER:       All right.

13                We are going off the record.          The time is

14      12:18 p.m.

15                (Off the record.)                                    12:18:32

16                THE VIDEOGRAPHER:       All right.

17                We are back on the record at 12:28 p.m.

18                Go ahead.

19                MS. VEROFF:    Great.

20      BY MS. VEROFF:                                                 12:28:13

21          Q.    Thank you, Ms. Blatt.

22                So we were talking about the -- the 12

23      topics in the notice of deposition.           And I'd like

24      to start with Topic 1, which is "The organization

25      and structure of the State Board, including its                12:28:24

                                                                      Page 18

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 20 of 140 PageID #: 11581


 1      employees, their positions, and the scope of their

 2      responsibilities, including the role and

 3      responsibilities of the State Superintendent."

 4                Did I read that correctly?

 5          A.    Yes.                                               12:28:37

 6          Q.    What did you do to prepare for Topic 1?

 7          A.    I've just generally thought through the

 8      process that we use and how our department and

 9      State Board is organized.

10          Q.    Did you review any documents?                      12:28:53

11          A.    No.

12          Q.    And did you consult with anyone other than

13      your attorney?

14          A.    No.

15          Q.    Turning to Topic 2, "Your Policies,                12:29:04

16      Documents, and Communications concerning

17      rulemaking," did I read that correctly?

18          A.    Yes.

19          Q.    What did you do to prepare for Topic 2?

20          A.    Again, just thought through the process            12:29:18

21      that we use here at the Department of Education.

22          Q.    Did you consult any documents?

23          A.    No.

24          Q.    And did you consult any person other than

25      your attorney?                                               12:29:29

                                                                    Page 19

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 21 of 140 PageID #: 11582


 1          A.      No.

 2          Q.      Looking at Topic 3, "Your Policies,

 3      Documents, and Communications Concerning Your

 4      control, supervision, or authority over school

 5      athletics in West Virginia," did I read that                    12:29:41

 6      correctly?

 7          A.      Yes.

 8          Q.      What did you do to prepare for Topic 3?

 9          A.      Just reviewed the State Code regarding the

10      SSAC.                                                           12:29:54

11          Q.      And did you review any documents?

12          A.      No.

13          Q.      I'm sorry, I couldn't hear you.          Did you

14      say "no"?

15          A.      No, just the -- the State Code that                 12:30:07

16      relates to the SSAC.

17          Q.      Just the State Code.      Great.

18                  And did you consult with anyone other than

19      your attorney?

20          A.      No.                                                 12:30:16

21                  MS. MORGAN:   Let me just state that there

22      are more than just one attorney, so attorneys for

23      the State Board and Superintendent Burch.

24      BY MS. VEROFF:

25          Q.      Did -- did you consult with any of your             12:30:30

                                                                       Page 20

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 22 of 140 PageID #: 11583


 1      attorneys -- or, I'm sorry, anyone other than your

 2      attorneys?

 3          A.    No.

 4          Q.    Turning to Topic 4, "Your current and/or

 5      expected role in implementing and enforcing H.B.             12:30:42

 6      3293, including any delegation of authority to or

 7      supervision over the West Virginia Secondary

 8      School Activities Commission, West Virginia county

 9      boards of education, and/or county

10      superintendents," did I read that correctly?                 12:30:59

11          A.    Yes.

12          Q.    What did you do to prepare for Topic 4?

13          A.    Just reviewed House Bill 3293.

14          Q.    Did you review any other documents?

15          A.    No.                                                12:31:12

16          Q.    And did you consult with anyone other than

17      your attorneys?

18          A.    No.

19          Q.    Topic 5 is "The relationship between the

20      State Board and the West Virginia Secondary School           12:31:24

21      Activities Commission."

22                Did I read that correctly?

23          A.    Yes.

24          Q.    Did you review any -- what did you -- I'm

25      sorry.                                                       12:31:34

                                                                    Page 21

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 23 of 140 PageID #: 11584


 1                 What did you do to prepare for Topic 5?

 2          A.     Again, just reviewed the State Code that

 3      spells out that relationship.

 4          Q.     And did you review any other documents?

 5          A.     No.                                               12:31:44

 6          Q.     And did you consult with anyone other than

 7      your attorneys?

 8          A.     No.

 9          Q.     Topic 6, "Your relationship and

10      Communication with the West Virginia Legislature,            12:31:55

11      including individual legislators, legislative

12      staff, Committees, and/or Committee staff, in

13      developing legislation, including Your

14      Communication regarding and involvement in the

15      drafting, passage, and implementation of H.B.                12:32:09

16      3293.    This expressly includes all Communications

17      with the House Education Committee, including its

18      counsel Melissa White."

19                 Did I read that correctly?

20          A.     Yes.                                              12:32:22

21          Q.     What did you do to prepare for Topic 6?

22          A.     Just reviewed the exhibits that had been

23      submitted.

24          Q.     And did you review any other documents?

25          A.     No.                                               12:32:32

                                                                    Page 22

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 24 of 140 PageID #: 11585


 1          Q.    And did you consult with anyone other than

 2      your attorneys?

 3          A.    No.

 4          Q.    Topic 7, "Your Policies, Documents, and

 5      Communications Concerning the participation of               12:32:44

 6      transgender students in athletics in West Virginia

 7      from January 1st, 2019 to the present."

 8                Did I read that correctly?

 9          A.    Yes.

10          Q.    What did you do to prepare for Topic 7?            12:32:55

11          A.    There is nothing to review.          We had no

12      documents for this one.

13          Q.    And did you consult with anyone other than

14      your attorneys?

15          A.    No.                                                12:33:06

16          Q.    Topic 8, "Your Policies, Documents and

17      Communications Concerning the separation of boys

18      and girls in school-sponsored sports in West

19      Virginia prior to and following the passage of

20      H.B. 3293."                                                  12:33:22

21                Did I read that correctly?

22          A.    Yes.

23          Q.    What did you do to prepare for Topic 8?

24          A.    Nothing.

25          Q.    Did you review any documents?                      12:33:32

                                                                    Page 23

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 25 of 140 PageID #: 11586


 1          A.    No.

 2          Q.    And did you consult with anyone other than

 3      your attorneys?

 4          A.    No.

 5          Q.    Topic 9, "Your understanding Concerning            12:33:39

 6      the purpose, scope, and implications of 3293.

 7      This expressly includes Your understanding of

 8      what, if any, governmental interests are furthered

 9      by H.B. 3293." [As read]

10                Did I read that correctly?                         12:33:57

11          A.    Yes.

12          Q.    What did you do prepare for Topic 9?

13          A.    Just read the House Bill 3293 statute.

14          Q.    Did you review any other documents?

15          A.    No.                                                12:34:09

16          Q.    And did you consult with anyone other than

17      your attorneys?

18          A.    No.

19          Q.    Topic 10, "Your Policies, Documents, and

20      Communications Concerning B.P.J. and her family              12:34:24

21      from January 1st, 2019, to the present." [As read]

22                Did I read that correctly?

23          A.    Yes.

24          Q.    What did you do to prepare for Topic 10?

25          A.    We had nothing to -- to review or consider         12:34:34

                                                                    Page 24

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 26 of 140 PageID #: 11587


 1      in that.

 2          Q.     So you didn't review any documents?

 3          A.     No, other than the court case --

 4          Q.     And did you consult -- and did you consult

 5      with anyone other than your attorneys?                             12:34:47

 6          A.     No.

 7          Q.     Topic 11, "Your Policies, Documents, and

 8      Communications Concerning H.B. 3293."

 9                 (Interruption in audio/video.)

10                 THE COURT REPORTER:      Excuse me.        There was    12:35:01

11      an interruption.    There was a cough.

12                 If you could please start over.

13                 MS. VEROFF:   Sure.

14      BY MS. VEROFF:

15          Q.     Topic 11, "Your Policies, Documents, and                12:35:06

16      Communications Concerning H.B. 3293.           This

17      expressly includes Your Green Book Summary of H.B.

18      3293 published in 2021, Bates stamped W -- WVSBOE

19      000035, as well as the Enrolled Bill Review Form

20      submitted in relation to H.B. 3293 Bates stamped                   12:35:27

21      WVSBOE 000038."

22                 Did I read that correctly?

23          A.     Yes.

24          Q.     What did you do to prepare for Topic 11?

25          A.     Just reviewed those documents.                          12:35:41

                                                                          Page 25

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 27 of 140 PageID #: 11588


 1          Q.     And did you review any other documents

 2      besides the Green Book Summary and the Enrolled

 3      Bill Review Form?

 4          A.     No.

 5          Q.     And did you consult with anyone other than        12:35:51

 6      your attorneys?

 7          A.     No.

 8          Q.     Topic 12, the last one, "All Your

 9      discovery responses provided to date in this

10      action."                                                     12:36:03

11                 Did I read that correctly?

12          A.     Yes.

13          Q.     What did you do to prepare for Topic 12?

14          A.     Just reviewed the discovery responses.

15          Q.     Did you review any other documents?               12:36:13

16          A.     No.

17          Q.     And did you consult with anyone other than

18      your attorneys?

19          A.     No.

20          Q.     Besides what we've just discussed, did you        12:36:22

21      do any other preparation for today's deposition?

22          A.     No.

23          Q.     Do you understand that you are testifying

24      today about these topics on behalf of the State

25      Board?                                                       12:36:37

                                                                    Page 26

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 28 of 140 PageID #: 11589


 1          A.    Yes.

 2          Q.    So, accordingly, when I ask for your

 3      position on something, I'll be asking for the

 4      position of the State Board, unless I specify

 5      otherwise.                                                   12:36:48

 6                Does that make sense?

 7          A.    Yes.

 8          Q.    Great.

 9                So even though we're largely going to be

10      discussing the -- the State Board, I do want to              12:36:57

11      talk a little bit about your personal background.

12      So for these questions, I'm asking you to speak on

13      your own behalf rather than that of the State

14      Board.

15                What is your current position?                     12:37:08

16          A.    Deputy State Superintendent.

17          Q.    And what are your responsibilities as

18      Deputy State Superintendent?

19          A.    Basically to oversee the management of the

20      Department of Education and the various offices.             12:37:22

21          Q.    And can you tell me a little bit more

22      about what that involves?

23          A.    We have six main divisions here that serve

24      the different areas that are controlled by the

25      Department of Education, and so each of these                12:37:40

                                                                    Page 27

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 29 of 140 PageID #: 11590


 1      offices I'll work with reviewing any policies that

 2      they are -- are producing, work with the State

 3      Board of Education to get those policies out on

 4      comment, and then come back for approval,

 5      oversight of the various budgets from -- in the              12:37:55

 6      different offices, and the personnel issues or

 7      hirings that may come up.

 8          Q.      And how long have you been in this role?

 9          A.      I've been in this role about a year and a

10      half.                                                        12:38:11

11          Q.      And who do you report to?

12          A.      I report to the superintendent, Clayton

13      Burch.

14          Q.      And does anyone report to you?

15          A.      Yes, the -- the six officers report to me        12:38:24

16      directly.

17          Q.      And who are the six officers?

18          A.      We have our division of CTE, and that's

19      Clinton Burch; teaching and learning, Sonia White;

20      support and accountability, Charlene Coburn;                 12:38:42

21      federal programs, Melanie Parkey; our data

22      management and information systems, Tim Conzett;

23      and then our chief financial officer, Phil Uwey.

24          Q.      And did you go to college, Ms. Blatt?

25          A.      I did.                                           12:39:06

                                                                    Page 28

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 30 of 140 PageID #: 11591


 1          Q.      Where did you go?

 2          A.      Marshall University in Huntington.

 3          Q.      And did you obtain a degree there?

 4          A.      Yes.

 5          Q.      What degree did you earn?                        12:39:15

 6          A.      I have a bachelor's in K-8 multisubject

 7      teaching.     And I have a master's in educational

 8      leadership.        And I have a master's as a reading

 9      specialist, K to adult.

10          Q.      And after you finished at Marshall               12:39:31

11      University, what was the first job that you had?

12          A.      I was a classroom teacher.

13          Q.      What school did you teach at?

14          A.      First job was Eastland Middle.

15          Q.      Got it.                                          12:39:44

16                  And what county is that in?

17          A.      Wayne County.     The school no longer

18      exists, though.

19          Q.      And what --

20                  MS. MORGAN:     Julie, just -- just so the       12:39:51

21      record's clear, this is beyond the scope of the --

22      the 12 topics that you have filed that you were

23      going to ask her questions about.

24                  You know, I want to go ahead and allow it

25      just to, you know, try to move forward on this, but          12:40:05

                                                                    Page 29

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 31 of 140 PageID #: 11592


 1      I just want to preserve that objection.

 2                MS. VEROFF:    Thank you.

 3      BY MS. VEROFF:

 4          Q.    And after that teaching position, what was

 5      the next job that you had?                                   12:40:15

 6          A.    I was a teacher for six years in Wayne

 7      County.

 8          Q.    And what grade did you teach?

 9          A.    Sixth, seventh, and eighth.

10          Q.    And after you finished those six years of          12:40:28

11      teaching, what did you do next?

12          A.    I went into administration.          I was an

13      assistant principal for three years.

14          Q.    And what school were you the assistant

15      principal at?                                                12:40:40

16          A.    Buffalo Middle School in Wayne County.

17          Q.    And after that job, what did you do next?

18          A.    I became the principal of Buffalo Middle

19      School for one year and then transferred to

20      Buffalo Elementary School for four years as the              12:40:56

21      principal.

22          Q.    And when you finished with that role as

23      the principal of the elementary school, what did

24      you do after that?

25          A.    That was at the time that I came to the            12:41:09

                                                                    Page 30

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 32 of 140 PageID #: 11593


 1      State Department of Education.

 2          Q.     And have you held the position of deputy

 3      superintendent the entire time you've been at the

 4      State Board of Education [verbatim]?

 5          A.     No.   I was hired as the leadership                12:41:18

 6      development coordinator, moved into an assistant

 7      director role, then a director role, then became

 8      an assistant state superintendent over one of our

 9      divisions prior to becoming the deputy

10      superintendent.                                               12:41:34

11          Q.     That's great.

12                 And are there any jobs that you've held

13      that we haven't talked about just now?

14          A.     I don't think so, other than part-time

15      college jobs.                                                 12:41:48

16          Q.     Excellent.     Thank you.

17                 And do you play any sports?

18          A.     I did.

19          Q.     What sports did you play?

20                 MS. MORGAN:     Same objection.       Object to    12:41:58

21      the form and exceeds the scope of the topics.

22                 THE WITNESS:     Basketball, track, and cross

23      country.

24      BY MS. VEROFF:

25          Q.     And do you coach any sports?                       12:42:10

                                                                     Page 31

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 33 of 140 PageID #: 11594


 1             A.   No.

 2             Q.   Do you have any kids?

 3             A.   I do.

 4                  MS. MORGAN:   I'm -- I'm going to con- --

 5      give me a continuing objection.          I don't understand    12:42:21

 6      why this would be relevant to her 30(b)(6)

 7      deposition here.

 8                  MS. VEROFF:   Very happy to give you a

 9      continuing deposition [sic], and -- and we'll wrap

10      up shortly.                                                    12:42:36

11      BY MS. VEROFF:

12             Q.   Do any of your kids play school sports?

13             A.   Yes.

14             Q.   What sports do they play?

15             A.   My son ran cross country and track.       My       12:42:43

16      daughter played basketball, volleyball, and ran

17      cross country and track.

18             Q.   Great.

19                  And before today, did you know who B.P.J.

20      was?                                                           12:43:02

21             A.   Just in preparing for this case.

22             Q.   But outside of preparing for this case,

23      did you know who she was?

24             A.   Just from news articles.

25             Q.   And has anyone at the State Board ever had         12:43:15

                                                                      Page 32

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                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 34 of 140 PageID #: 11595


 1      direct communications with B.P.J.?

 2          A.      No.

 3          Q.      Has anyone at the State Board ever had

 4      direct communications with B.P.J.'s mother?

 5          A.      No.                                              12:43:30

 6          Q.      Has anyone at the State Board ever had

 7      direct communications with B.P.J.'s father?

 8          A.      No.

 9          Q.      And has anyone at the State Board ever had

10      direct communications with one of B.P.J.'s                   12:43:43

11      siblings?

12          A.      No.

13          Q.      I want to shift to talking a little bit

14      about the state superintendent.

15                  Have you ever met Superintendent Burch?          12:43:55

16          A.      Yes.

17          Q.      I would imagine so, given your role.

18                  How long has Superintendent Burch been in

19      his position?

20          A.      Approximately two years.                         12:44:06

21          Q.      And how is someone selected to be the

22      state superintendent?

23          A.      The state superintendent is selected by

24      the State Board of Education.

25          Q.      And is there a term limit for the                12:44:23

                                                                    Page 33

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 35 of 140 PageID #: 11596


 1      superintendent?

 2          A.    No.    They serve at the will and pleasure

 3      of the State Board of Education.

 4          Q.    And who is the superintendent employed by?

 5          A.    They're employed by the State Board of             12:44:35

 6      Education.

 7          Q.    And is the superintendent considered a

 8      State official?

 9          A.    Yes.

10          Q.    What are the superintendent's                      12:44:46

11      responsibilities?

12          A.    His responsibility is the general

13      oversight of the public education system,

14      including the -- the county school systems, the

15      county superintendents, and the various schools              12:45:02

16      across the state.

17          Q.    And what is the relationship between the

18      superintendent and the West Virginia Department of

19      Education?

20          A.    The -- the state superintendent hires the          12:45:15

21      staff of the Department of Education and oversees

22      their work.

23          Q.    And as far as the relationship between the

24      superintendent and the State Board, is the

25      superintendent a member of the State Board?                  12:45:30

                                                                    Page 34

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                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 36 of 140 PageID #: 11597


 1          A.    Yes.   An ex-officio member.

 2          Q.    Does ex officio mean the superintendent

 3      doesn't have a vote?

 4          A.    Correct.

 5          Q.    Does the superintendent have any kind of           12:45:46

 6      supervision over the State Board?

 7          A.    No, the superintendent serves the State

 8      Board.

 9          Q.    So, for example, the superintendent

10      couldn't veto a decision of the State Board?                 12:45:56

11          A.    Correct.

12                MS. MORGAN:    Julie, I'm just going to

13      object on the basis, again, this exceeds the topics

14      set forth in the notice of deposition, the 12

15      topics.                                                      12:46:09

16                MS. VEROFF:    Thank you.      I -- I believe

17      that these questions are responsive to Topic 1,

18      which include the role and responsibilities of

19      the -- the superintendent.       But just to -- to keep

20      going forward.                                               12:46:22

21      BY MS. VEROFF:

22          Q.    Does the superintendent oversee public

23      schools in West Virginia?

24          A.    Yes.   He has the general oversight.

25          Q.    And what does that general oversight               12:46:30

                                                                    Page 35

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 37 of 140 PageID #: 11598


 1      involve?

 2          A.     The superintendent ensures that the -- the

 3      public school system is implementing, like, the

 4      policies that are set forth by the State Board of

 5      Education and over- -- and oversees the general              12:46:47

 6      operations of the -- of the school systems.

 7          Q.     And does that oversight of the school

 8      system include Bridgeport Middle School?

 9          A.     The -- the superintendent would, you know,

10      oversee all the county systems and schools, but              12:47:04

11      works more directly with our county boards of

12      education.

13          Q.     And can you tell me a little bit more

14      about how the superintendent works with the county

15      boards of education?                                         12:47:16

16          A.     Basically, through the staff that he

17      hires, the various programs -- or federal programs

18      that we have, our school improvement leadership,

19      the various services that we provide, and the

20      supports to the school systems.                              12:47:33

21          Q.     And does the superintendent have any

22      relationship with the county superintendents?

23          A.     He has a working relationship with all 55

24      of our county superintendents.

25          Q.     And what is the nature of that working            12:47:49

                                                                    Page 36

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 38 of 140 PageID #: 11599


 1      relationship?

 2          A.     Just a matter of they -- you know, we put

 3      out information here regularly to our

 4      superintendents to provide guidance and -- and

 5      support.     They will reach out to the                      12:48:03

 6      superintendent or to staff here for technical

 7      assistance.

 8          Q.     And does the superintendent oversee the

 9      West Virginia Secondary School Activities

10      Commission?                                                  12:48:20

11          A.     No.

12          Q.     Is there any relationship between the

13      superintendent and the West Virginia Secondary

14      Schools [verbatim] Activities Commission?

15          A.     Not really a relationship.         I mean, you    12:48:27

16      know, the paths cross with the State Board, but...

17          Q.     Is the superintendent required to follow

18      State law?

19          A.     Yes.

20          Q.     Is the superintendent required to follow          12:48:44

21      H.B. 3293?

22          A.     Once it was codified, then yes.

23          Q.     Are you familiar with the West Virginia

24      Education Information System?

25          A.     Yes.                                              12:48:58

                                                                    Page 37

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 39 of 140 PageID #: 11600


 1          Q.      We've heard it abbreviated as WVEIS.

 2                  Is that a -- a term you're familiar with?

 3          A.      Yes.

 4          Q.      And can you tell me, what is WVEIS?

 5          A.      WVEIS is a statewide edu -- student              12:49:12

 6      information system that we maintain here at the

 7      State level and the counties input their data

 8      into.

 9          Q.      And so, does the superintendent have any

10      control over WVEIS?                                          12:49:26

11          A.      The superintendent probably does not even

12      have access to individual records in WVEIS.

13          Q.      Does the superintendent have any

14      involvement with deciding what kinds of records

15      are collected in WVEIS?                                      12:49:40

16          A.      Only if something comes forth in a policy

17      would he be aware of any changes or things that

18      are made.

19          Q.      Got it.

20                  And can you tell me about the relationship       12:49:52

21      between the State Board and the West Virginia

22      Department of Education?

23          A.      Well, the State Board hires the

24      superintendent who oversees the staff at the

25      Department of Education.                                     12:50:08

                                                                    Page 38

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 40 of 140 PageID #: 11601


 1                 And so, we all have a working relationship

 2      as we work to implement and -- revise and

 3      implement policies.

 4          Q.     So would it be correct to think of the

 5      State Board as part of the Department of                     12:50:21

 6      Education, or how -- how would you describe kind

 7      of how the two entities are situated together?

 8          A.     No, the -- the -- the State Board is a

 9      separate entity that supervises the state

10      superintendent and so, then ultimately, the                  12:50:36

11      Department of Education.

12          Q.     I see.

13                 And is the Department of Education a

14      government entity?

15          A.     Yes.                                              12:50:47

16          Q.     And is the State Board also a government

17      entity?

18          A.     Yes.

19          Q.     Does the State Board receive any federal

20      funding?                                                     12:50:57

21          A.     The -- the Department of Education

22      receives funding.

23          Q.     Do you know what kind of federal funding

24      the Department of Education receives?

25          A.     We receive all of the Elementary and              12:51:09

                                                                    Page 39

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 41 of 140 PageID #: 11602


 1      Secondary Education Act Title programs, the IDEA

 2      funding for special education, and -- and Perkins

 3      funding, which goes with our CTE programs.

 4          Q.    Do you know how many people are employed

 5      at the Department of Education?                              12:51:30

 6          A.    Approximately 234.

 7          Q.    And so, the State Board has members; is

 8      that right?

 9          A.    Yes.

10          Q.    How many members are there on the State            12:51:41

11      Board?

12          A.    There are nine members.

13          Q.    And how many of those nine members are

14      ex-officio members?

15          A.    Two.                                               12:51:54

16          Q.    Two.

17          A.    Including nine members --

18          Q.    And how are --

19          A.    -- plus two ex-officio members.

20          Q.    So just to confirm, there are 11 members           12:52:06

21      of the State Board in total?

22          A.    Yes.

23          Q.    And how are the members selected?

24          A.    The members are appointed by the governor.

25          Q.    And is that the case for all 11 members?           12:52:17

                                                                    Page 40

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 42 of 140 PageID #: 11603


 1          A.      No, just the -- the nine State Board

 2      members.

 3          Q.      And besides the superintendent, who is the

 4      other ex-officio member?

 5          A.      Chancellor Sarah Tucker that's over our          12:52:32

 6      Higher Education Policy Commission and our career

 7      and technical council.

 8          Q.      And how often do the members of the State

 9      Board meet?

10          A.      They meet monthly.                               12:52:45

11          Q.      And how does the State Board make

12      decisions?

13          A.      The State Board makes decisions based on

14      policies that have been -- that are presented to

15      them, that have been placed on comment and -- and            12:52:59

16      reviewed.

17          Q.      And, for example do they use a -- a

18      majority-vote system to make a decision?

19          A.      Yes.

20          Q.      They do.                                         12:53:12

21                  And does anyone have veto authority over a

22      decision made by the State Board?

23          A.      No.

24          Q.      And is the State Board's decision subject

25      to approval of any other body?                               12:53:23

                                                                    Page 41

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                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 43 of 140 PageID #: 11604


 1          A.    No.

 2          Q.    And what would you say are the

 3      responsibilities of the State Board?

 4          A.    I'm sorry.    Could you repeat.

 5          Q.    Of course.                                         12:53:37

 6                What are the responsibilities of the State

 7      Board?

 8          A.    The -- the State Board is charged with the

 9      general oversight of our system of free schools in

10      the state of West Virginia.                                  12:53:50

11          Q.    And what does the board try to accomplish

12      when it has its monthly meetings?

13          A.    Mon- -- monthly, they will either be

14      reviewing a policy that may have been on comment

15      or they may be hearing about a policy on that is             12:54:02

16      going out on comment or has come back in order to

17      be approved.

18                They start each of their meetings with the

19      focus on the strategic plan that they have in

20      place, and usually a presentation from department            12:54:17

21      staff on a certain topic.       And that, along with --

22      as well as having delegations from the community.

23          Q.    And so, to talk a little bit more about

24      the educational policies piece, what does it mean

25      in practice for the State Board to try to                    12:54:33

                                                                    Page 42

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 44 of 140 PageID #: 11605


 1      determine educational policies?

 2          A.    I mean, basically, the State Board

 3      oversees the various pieces of -- of the

 4      department.      Many of our policies are tied to

 5      either federal requirements or state legislation,               12:54:51

 6      and that's how many of our policies come into play

 7      so that the board will review and consider.

 8          Q.    And does the State Board have any

 9      involvement in establishing rules?

10          A.    Yes.     The State Board will establish the           12:55:09

11      rules for West Virginia Board of Education rules.

12          Q.    And does the State Board have any other

13      responsibilities besides the ones that you just

14      talked about --

15                (Interruption in audio/video.)                        12:55:26

16                THE COURT REPORTER:       Excuse me.      I didn't

17      hear the rest of the -- part of the question.            If

18      you can please repeat.

19                MS. VEROFF:     Of course.

20      BY MS. VEROFF:                                                  12:55:32

21          Q.    I was asking, does the State Board have

22      any other responsibilities beside the ones we just

23      talked about?

24          A.    No.     Just to enact and implement policy

25      and oversight of the -- our supervision of                      12:55:42

                                                                       Page 43

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 45 of 140 PageID #: 11606


 1      the State -- in the --

 2                  (Interruption in audio/video.)

 3                  THE COURT REPORTER:       "Our supervision of

 4      the"?

 5                  Could you please repeat.         There was an    12:55:54

 6      audio interruption.

 7                  THE WITNESS:    They enact and implement

 8      policy and have oversight of the -- or supervision

 9      rights of the -- over the state superintendent

10      [verbatim].                                                  12:56:06

11      BY MS. VEROFF:

12          Q.      And does the State Board have to comply

13      with federal law?

14          A.      Yes.

15          Q.      Does the State Board have to comply with         12:56:11

16      Title IX?

17          A.      Yes.

18          Q.      And does the Department of Education have

19      to comply with Title IX?

20          A.      Yes.                                             12:56:23

21          Q.      Does the State Board have to comply with

22      state law?

23          A.      Yes.

24          Q.      Does the State Board have to comply with

25      H.B. 3293?                                                   12:56:32

                                                                    Page 44

                                   Veritext Legal Solutions
                                        866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 46 of 140 PageID #: 11607


 1                MS. MORGAN:     Julie, this -- I'm going to

 2      object to form.      It -- this also calls for a legal

 3      conclusion as well as these other questions.

 4                But you can go ahead and answer.

 5                THE WITNESS:     Yes, once it was codified         12:56:45

 6      and became state law.

 7      BY MS. VEROFF:

 8          Q.    Does the State Board discuss state laws

 9      regarding education at its meetings?

10          A.    As they relate to policies, they do.               12:56:56

11          Q.    Has the State Board ever discussed H.B.

12      3293 at one of its meetings?

13          A.    No.

14          Q.    And is that unusual for the State Board

15      not to discuss a law concerning education that's             12:57:15

16      now been codified?

17          A.    No.

18          Q.    Do you know whether the State Board has a

19      missions statement?

20          A.    They do.                                           12:57:28

21          Q.    And do you know what it is?

22          A.    I should.

23                Something to the effect of becoming

24      lifelong learners with education and community

25      and the -- and the workforce.                                12:57:45

                                                                    Page 45

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 47 of 140 PageID #: 11608


 1          Q.    I'm going to go ahead and introduce

 2      another exhibit.      I'll let you know when it's

 3      available in your marked folder [verbatim].

 4                (Blatt Deposition Exhibit 16 was marked

 5                electronically.)                                        12:58:15

 6      BY MS. VEROFF:

 7          Q.    Okay.     If you refresh your Marked Exhibits

 8      folder, you should be able to see Exhibit 16.

 9      Just let me know when you can see it.

10          A.    Yes.     I can see it.                                  12:58:24

11          Q.    Great.

12                And do you recognize this document?

13          A.    Yes, that's our website.

14          Q.    Great.

15                Well, I'll represent that Exhibit 16 is a               12:58:35

16      web page from the West Virginia Department of

17      Education's website titled "State Board of

18      Education."      You see the URL in the bottom left

19      corner.   And if you scroll to the second page

20      under "Mission," it says, "The West Virginia Board                12:58:49

21      of Education and State Superintendent --

22                THE COURT REPORTER:       Excuse me.       Counsel,

23      if you could if you're reading, please.             Thank you.

24                MS. VEROFF:     Yes, of course.

25      BY MS. VEROFF:                                                    12:59:02

                                                                         Page 46

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 48 of 140 PageID #: 11609


 1          Q.    "The West Virginia Board of Education and

 2      State Superintendent of Schools work in concert to

 3      establish policies and procedures to assure

 4      implementation of West Virginia's Public Education

 5      goals and to ensure the general supervision,                 12:59:13

 6      oversight and monitoring of a thorough, efficient

 7      and effective system of free public schools."

 8                Did I read that correctly?

 9          A.    Yes.

10          Q.    Is that an accurate statement of the State         12:59:25

11      Board's mission?

12          A.    Yes.

13          Q.    I'd like to talk a little bit more about

14      how the State Board generally supervises public

15      schools in West Virginia.                                    12:59:40

16                Can you tell me a little about what that

17      general supervision involves?

18          A.    Well, the State Board of Education has

19      a -- of course, as we -- we've said before,

20      directly supervises the superintendent.             The      12:59:52

21      superintendent then has an office of

22      accountability.    And that -- that group is charged

23      with ensuring that our county school systems are

24      implementing the policies or procedures, adhering

25      to the financial audits, the various federal                 13:00:07

                                                                    Page 47

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 49 of 140 PageID #: 11610


 1      requirements.      And so they receive a report

 2      annually on the county school systems.

 3          Q.      And are there any other ways in which the

 4      State Board monitors public schools in West

 5      Virginia?                                                    13:00:23

 6          A.      No.

 7          Q.      And are there any other forms of oversight

 8      that the State Board engages in with regards to

 9      public schools in West Virginia?

10          A.      No.                                              13:00:35

11          Q.      We talked a little bit previously about

12      the West Virginia Secondary School Activities

13      Commission.

14                  Are you familiar with the West Virginia

15      Secondary School Activities Commission?                      13:00:53

16          A.      Yes.

17          Q.      Can you tell me what it is?

18          A.      It is the -- a -- association charged with

19      oversight of all of the secondary schools'

20      athletic events.                                             13:01:05

21          Q.      And does the Department of Education have

22      any relationship with the West Virginia Secondary

23      School Activities Commission?

24          A.      Our only involvement with them is when

25      they submit a rule to be approved or submitted to            13:01:17

                                                                    Page 48

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 50 of 140 PageID #: 11611


 1      the State Board.

 2          Q.    And when the Secondary School Activities

 3      Commission submits a rule, can you talk me through

 4      what that approval process involves?

 5          A.    They will present to the State Board of            13:01:33

 6      Education.   The State Board then has the authority

 7      to accept the rule and put it out on a public

 8      30-day comment.    And then after the comment

 9      period, then they can either approve or reject the

10      rule.                                                        13:01:50

11          Q.    And what criteria does the State Board use

12      in deciding whether to approve or reject a rule?

13          A.    I think the State Board relies on the

14      staff of the Department of Education to provide

15      them with -- with guidance as to the legality of             13:02:03

16      the rule, if it's based on federal, if it based on

17      state statute, and then will also review the

18      comments from the -- that come in on the policy.

19          Q.    Has the State Board ever not approved a

20      rule submitted by the commission?                            13:02:23

21          A.    Not to my knowledge, but I've not been

22      here forever.

23          Q.    And can the West Virginia Secondary School

24      Activities Commission issue a rule that conflicts

25      with a rule issued by the State Board?                       13:02:39

                                                                    Page 49

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 51 of 140 PageID #: 11612


 1             A.      I'm aware that they do have their -- their

 2      rules and regulations guidance document that they

 3      use, but I don't think there's anything in

 4      conflict with the State Board of Education.

 5             Q.      And does the commission have to comply        13:02:54

 6      with the rules issued by the State Board?

 7             A.      Yes.

 8             Q.      So I'm going to introduce a new exhibit

 9      now.        I'll let you know when it's available in the

10      marked folder [verbatim].                                    13:03:10

11                     (Blatt Deposition Exhibit 17 was marked

12                     electronically.)

13      BY MS. VEROFF:

14             Q.      So if you refresh your Marked Exhibits

15      folder, you should now be able to see Exhibit 17.            13:03:42

16      Just let me know when you can see that.

17             A.      Yes, we can see that.

18             Q.      So I'll represent that this is a discovery

19      response produced by your counsel to plaintiff's

20      counsel.                                                     13:03:55

21                     Do you recognize this document?

22             A.      Yes.

23             Q.      So please scroll to page 5 of the PDF, and

24      just let me know when you're there.

25             A.      Okay.   We are there.                         13:04:08

                                                                    Page 50

                                    Veritext Legal Solutions
                                         866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 52 of 140 PageID #: 11613


 1          Q.      Great.

 2                  So I want to direct your attention to

 3      "REQUEST NO. 5," which is towards the bottom of

 4      the page.

 5                  And it reads, "REQUEST NO. 5:            All     13:04:19

 6      DOCUMENTS and POLICIES CONCERNING YOUR delegation

 7      of authority over secondary school athletics to

 8      the West Virginia Secondary School Activities

 9      Commission."

10                  The response states, "These Defendants do        13:04:30

11      not have any non-privileged documents which are

12      responsive to this request other than those which

13      are publicly available, including W.Va. Code

14      Section 18-2-25 which was approved by WVBE, and

15      WVSSAC rules including but not limited to 127CSR2            13:04:48

16      which states, "'4.1.      The WVSSAC shall be

17      composed' --

18                  THE COURT REPORTER:      Please slow down.

19      BY MS. VEROFF:

20          Q.      -- 'of principals or designee' --                13:04:57

21                  MS. VEROFF:   I'm sorry.

22      BY MS. VEROFF:

23          Q.      -- 'of those public or private secondary

24      schools which have certified in writing to the

25      State Superintendent of Schools of West Virginia             13:05:07

                                                                    Page 51

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 53 of 140 PageID #: 11614


 1      (State Superintendent) that they have elected to

 2      delegate the control, supervision, and regulation

 3      of their interscholastic athletic and band

 4      activities.'"

 5                 That was a lot.                                   13:05:20

 6                 Did I read that correctly?

 7          A.     Yes.

 8          Q.     Excellent.

 9                 Are you familiar with 127CSR2?

10          A.     Yes.                                              13:05:29

11          Q.     And is what I read a correct statement of

12      127CSR2?

13                 MS. MORGAN:    Objection as to form.

14                 THE WITNESS:    I do believe so, as that was

15      one of the documents, part of the re- -- when I              13:05:43

16      reviewed this, that the counsels provided.

17      BY MS. VEROFF:

18          Q.     And so, to confirm I understand the

19      meaning, is it correct that principals are

20      required to submit a written certification to the            13:05:54

21      superintendent for their school to be able to be a

22      member of the West Virginia Secondary School

23      Activities Commission?

24                 MS. MORGAN:    Object to form.

25                 THE WITNESS:    Yes, according to 4.1.            13:06:07

                                                                    Page 52

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 54 of 140 PageID #: 11615


 1      BY MS. VEROFF:

 2          Q.    And why does that requirement exist?

 3          A.    I do not have that --

 4                MS. MORGAN:     Object -- object to the form

 5      of the question.      Calls for speculation, legal           13:06:16

 6      conclusion.

 7      BY MS. VEROFF:

 8          Q.    If a secondary school doesn't submit a

 9      certification to the state superintendent, are

10      they not allowed to be part of the West Virginia             13:06:31

11      Secondary School Activities Commission?

12                MS. MORGAN:     Objection.

13                THE WITNESS:     According to 4.1 that's

14      listed there, yes.

15      BY MS. VEROFF:                                               13:06:40

16          Q.    And do you know whether the principal of

17      Bridgeport Middle School has submitted this

18      certification to the state superintendent?

19          A.    I do not.

20          Q.    Does the State Board have any involvement          13:06:51

21      with the West Virginia Education Information

22      System, WVEIS?

23          A.    Just in the -- the fact that it's in one

24      of the policies and they're aware of that and at

25      times are given reports.                                     13:07:08

                                                                    Page 53

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 55 of 140 PageID #: 11616


 1          Q.    And does the State Board have any control

 2      over the kind of data that's collected in WVEIS?

 3                MS. MORGAN:    Asked and answered.

 4                THE WITNESS:    Yes, as they would say, we

 5      have a -- there is a policy that oversees the type           13:07:25

 6      of data that is collected.

 7      BY MS. VEROFF:

 8          Q.    And so just to make sure I understand, for

 9      example, the State Board could enact a policy that

10      required a particular piece of data to be                    13:07:36

11      collected, and then that data collection process

12      would be implemented in WVEIS?

13          A.    After it went through a 60-day comment

14      period, because we also have State Code that

15      references our WVEIS system and the data that is             13:07:51

16      allowed to be collected.

17          Q.    Great.

18                MS. VEROFF:    So before I move on, I know

19      that we said regarding breaks at the beginning that

20      we would go at -- up to about an hour and a half,            13:08:03

21      but I just wanted to -- to check in and see how

22      everyone was doing and see if anyone needed a break

23      sooner.

24                THE WITNESS:    We are fine.

25                THE COURT REPORTER:       I would love one.        13:08:16

                                                                    Page 54

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 56 of 140 PageID #: 11617


 1                MS. VEROFF:    Okay.    Well, let's -- I'm

 2      sorry, Hanna, was that you?

 3                THE COURT REPORTER:       Yes, please.     I would

 4      appreciate one, please, just a short break.

 5                MS. VEROFF:    Okay.    Great.      So why don't      13:08:28

 6      we go ahead -- does a -- a five-minute break work

 7      for folks?

 8                MS. MORGAN:    Yes, that's fine.

 9                MS. VEROFF:    Okay.    That would be great.

10                And, Mitch, could you send us into the                13:08:37

11      break-out rooms during the -- break?

12                THE VIDEOGRAPHER:      Yeah.     Your rooms are

13      still open, so you can join any time.           Okay --

14                MS. VEROFF:    Okay.    Great.

15                So why don't we plan to come back at --

16                THE COURT REPORTER:       Would you like to go

17      off the record?

18                THE VIDEOGRAPHER:      Should we go off the

19      record?

20                MS. VEROFF:    -- 1:15?                               13:08:56

21                THE VIDEOGRAPHER:      Anyways, we're going

22      off the record.    The time is 1:08 p.m., and this is

23      the end of Media Unit Number 1.

24                (Short recess taken.)

25                THE VIDEOGRAPHER:      Okay.     We are back on       13:18:51

                                                                       Page 55

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 57 of 140 PageID #: 11618


 1      the record at 1:18 p.m., and this is beginning of

 2      Media Unit Number 2.

 3                Go ahead.

 4                MS. VEROFF:    Thank you.

 5      BY MS. VEROFF:                                               13:19:01

 6          Q.    So I'd like to jump back into talking

 7      about the State Board's rule-making and

 8      policy-making authority and process.

 9                First, can you tell me what the difference

10      is between a State Board rule and a State Board              13:19:13

11      policy?

12          A.    There's no difference between the State

13      Board policy and the State Board rule when we --

14      we actually call them policies through the Board

15      of Education; but then when they are filed with              13:19:25

16      our Secretary of State, then they're assigned a --

17      a rule number.

18          Q.    I see.

19                So just to make sure I understand, so

20      everything starts out as a policy, but it becomes            13:19:37

21      a rule when it gets filed?

22          A.    It's just referenced that way.

23      They're the -- they're the same, one and the same.

24          Q.    I see.

25                And so are there -- so there -- there are          13:19:49

                                                                    Page 56

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 58 of 140 PageID #: 11619


 1      no policies of the State Board that didn't go

 2      through the rule-making process?

 3          A.    Correct.

 4          Q.    Got it.

 5                And do you know how many rules and                 13:20:02

 6      policies the State Board has issued?

 7          A.    I believe we're at 82, 83.

 8          Q.    And is the State Board ever required by

 9      state law to promulgate a rule?

10          A.    Yes.                                               13:20:21

11          Q.    And is the State Board allowed to

12      promulgate a rule that conflicts with a state law?

13          A.    No.

14                MS. MORGAN:    Ob- -- object to form.

15      BY MS. VEROFF:                                               13:20:36

16          Q.    So I'd like to know a little bit more

17      about the rule-making process.         What happens first

18      when the State Board is considering a rule?

19          A.    Well, depending on the -- kind of the

20      nexus for beginning a rule, if it's based on                 13:21:37

21      something that's been told to be promulgated from

22      legislation, then it requires a look at that

23      language to begin with.

24                We usually have an internal team here that

25      will draft some language.       Any policy making            13:21:02

                                                                    Page 57

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 59 of 140 PageID #: 11620


 1      always requires external stakeholders that will be

 2      part of the committee as well to review.              And then

 3      we will work to get a final draft of the policy

 4      that then will be presented to the State Board of

 5      Education for review.                                             13:21:21

 6                  And then if -- if they are pleased with

 7      that, it will go out on a 30-day comment period to

 8      the entire state and then may or may not have

 9      changes based on comment and then be approved the

10      following month.                                                  13:21:36

11          Q.      And who ultimately approves the rule?

12          A.      The State Board of Education.

13          Q.      And are there any internal policies that

14      govern the rule-drafting process?

15          A.      Not really any internal process -- or                 13:21:51

16      policies, but just some procedures that -- to --

17      to make it aligned and consistent formatting and

18      things like that.     They're mostly technical.

19          Q.      Are those procedures written down

20      anywhere?                                                         13:22:08

21          A.      On the -- our policy website.           On the

22      State Board of Education -- or the State

23      Department of Education website under policies

24      there will be some forms that are used to --

25      checklists and things to verify the process.                      13:22:19

                                                                         Page 58

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 60 of 140 PageID #: 11621


 1          Q.    And so from start to finish, how long does

 2      the whole rule-making process typically take?

 3          A.    It really depends on the content and the

 4      length of the policy.     I mean, we have some

 5      policies that are two or three pages, and we have            13:22:37

 6      some that are a hundred and 50 pages, so it really

 7      just depends.

 8          Q.    Do you ever issue interim rules without

 9      going through the public comment period?

10          A.    At times there may be like an emergency            13:22:53

11      rule that will be enacted and it -- while -- while

12      it's on comment.

13          Q.    And what would be the reason to have an

14      emergency rule?

15          A.    It's normally something that is required           13:23:08

16      by the State Legislature.

17          Q.    And are there any examples of emergency

18      rules that you can think of?

19          A.    I can't think of any.

20          Q.    Is there a specific person at the State            13:23:22

21      Board who has responsibilities for drafting a

22      rule?

23          A.    No.   The drafting would come from whoever

24      the content experts were in the -- the area of the

25      policy.                                                      13:23:38

                                                                    Page 59

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 61 of 140 PageID #: 11622


 1          Q.      And does the State Board ever monitor

 2      compliance with its rules?

 3                  MS. MORGAN:    Object to form.

 4                  THE WITNESS:    They would monitor through

 5      the process that I described earlier with our                13:23:51

 6      accountability office.

 7      BY MS. VEROFF:

 8          Q.      And does the State Board ever enforce

 9      compliance with its rules?

10                  MS. MORGAN:    Are you talking a specific        13:24:03

11      rule?

12      BY MS. VEROFF:

13          Q.      Let -- let me rephrase.

14                  As a -- as a general matter, does the

15      State Board have any enforcement mechanisms that             13:24:11

16      it puts into its rules?

17                  MS. MORGAN:    Object to form.

18                  THE WITNESS:    Our accountability office

19      has a policy that dictates the -- the oversight and

20      the way that various policies and things have to be          13:24:22

21      enforced.

22      BY MS. VEROFF:

23          Q.      And so -- so how -- kind of using that --

24      that background, how does the State Board decide

25      what the enforcement means should be for a given             13:24:35

                                                                    Page 60

                                   Veritext Legal Solutions
                                        866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 62 of 140 PageID #: 11623


 1      rule?

 2                MS. MORGAN:    Object to form.

 3                THE WITNESS:    I don't think there's

 4      specific things to a given rule.         We just -- we

 5      have a policy in place that -- with the oversight            13:24:45

 6      and our accountability policy to -- with -- just to

 7      generalize how we do all of them.

 8      BY MS. VEROFF:

 9          Q.    And is there a particular person or

10      particular office of the State Board that's                  13:24:59

11      responsible for enforcing compliance when a rule

12      requires -- well, sorry, when a rule contemplates

13      enforcement?

14          A.    Again, our accountability and support

15      office oversees all of that work.                            13:25:11

16          Q.    Has the County Board of Education ever

17      violated a State Board rule?

18                MS. MORGAN:    Object to form.

19                THE WITNESS:    I'm sure there's been at

20      some time.                                                   13:25:29

21      BY MS. VEROFF:

22          Q.    And what happens if a rule is violated?

23          A.    Basically -- I mean, it depends on -- you

24      know, we have -- we have rules or policies that --

25      oversight of financial things, as well as our                13:25:41

                                                                    Page 61

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 63 of 140 PageID #: 11624


 1      curriculum and instruction policies.           And so it

 2      would really -- it really varies depending on

 3      what -- which policy might have been, you know,

 4      not followed.

 5          Q.      And is there any kind of appeals process         13:25:58

 6      if there's thought to be a violation?

 7          A.      Are you referencing for the county?

 8          Q.      Yes.

 9          A.      Yeah.   Yeah, as part of the -- our

10      accountability policies and that office, part of             13:26:17

11      the work that they do is to provide -- you know,

12      provide information and reviews and then meet with

13      the counties and allow them to explain or correct

14      findings.     We'll do noncompliances and findings,

15      and then they have the opportunity to correct                13:26:34

16      those and respond.

17          Q.      Okay.   And has the West Virginia Secondary

18      School Activities Commission ever violated a State

19      Board rule?

20          A.      Not to my knowledge, but...                      13:26:45

21          Q.      Has an individual school ever violated a

22      State Board rule?

23          A.      I mean, I'm sure when you look at the

24      breadth and the depth of our rules, that there's

25      something in there that has occurred.                        13:27:02

                                                                    Page 62

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 64 of 140 PageID #: 11625


 1          Q.      Has a student ever violated a State Board

 2      rule?

 3          A.      Yes.

 4          Q.      And has a -- a coach for a school sports

 5      team ever violated a State Board rule?                           13:27:12

 6          A.      I mean, again, just when you look at the

 7      80-some policies, I'm sure there is something in

 8      one of those that at some point has occurred.

 9          Q.      And is the oversight practice that you

10      described for the county the same process that                   13:27:26

11      would apply to any entity, or are the processes

12      different?

13          A.      I'm not sure which other entity you would

14      be referring to.

15          Q.      Oh, I'm sorry.   For example, a school or            13:27:38

16      an individual student.

17          A.      You know, our oversight is mainly at

18      the -- at the county level.       And then the counties

19      have oversight of their schools and are to enforce

20      the -- the rules and policies with their schools                 13:27:53

21      and then the school of course with the student.

22          Q.      I see.   So --

23                  (Interruption in audio/video.)

24                  THE COURT REPORTER:     I'm sorry.      "With the

25      student"?     Excuse me, there was a little cough, and           13:28:08

                                                                        Page 63

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 65 of 140 PageID #: 11626


 1      I didn't hear the end.

 2                  "And then the school of course with the

 3      student"?

 4                  THE WITNESS:    Yes.

 5      BY MS. VEROFF:                                               13:28:10

 6          Q.      So if, for example, a -- a student

 7      violated a State Board rule, can you walk me

 8      through what the process then would be?

 9          A.      If a student violated a rule, then it

10      would be addressed at the -- at the school level.            13:28:23

11          Q.      You mentioned earlier that there are

12      content experts for different state laws; is that

13      correct?

14          A.      Yes.

15          Q.      Is there a content expert for H.B. 3293?         13:28:39

16          A.      No.    We have -- no.

17          Q.      And why hasn't there been a content expert

18      chosen for H.B. 3293?

19                  MS. MORGAN:    Object to form.

20                  THE WITNESS:    Well, when I reference           13:29:01

21      "content expert" in reference to who writes the

22      policies, mainly I'm referring to like our

23      curriculum instruction policy.           So we have a

24      math -- someone with a math background that will

25      work on that.                                                13:29:13

                                                                    Page 64

                                   Veritext Legal Solutions
                                        866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 66 of 140 PageID #: 11627


 1                  And then we have other -- we have

 2      leadership, people that have been in administration

 3      that have been principals and assistant principals,

 4      so they may oversee some of the ones that are of

 5      the broader spectrum.                                           13:29:26

 6      BY MS. VEROFF:

 7          Q.      Does the State Board ever promulgate a

 8      rule in conjunction with another entity?

 9          A.      Not to my knowledge.

10          Q.      So, for example, has the State Board ever           13:29:37

11      promulgated a rule in conjunction with a West

12      Virginia Secondary School Activities Commission?

13          A.      Not in conjunction with.       They -- they

14      submit their rules from their organization, and

15      then they're reviewed by the State Board.                       13:29:52

16          Q.      Got it.

17                  So I want to ask now a couple questions

18      about the State Board and school sports.            And when

19      I refer to "state sports," [verbatim] what I mean

20      is athletics offered by public secondary schools                13:30:07

21      in West Virginia; so, for example, the

22      cross-country team at Bridgeport Middle School.

23                  Does the Department of Education have any

24      role with respect to school sports in West

25      Virginia?                                                       13:30:22

                                                                       Page 65

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 67 of 140 PageID #: 11628


 1          A.    The Department of Education or the -- the

 2      Board of Education?

 3          Q.    I'll ask about them separately.           So,

 4      first, the Department of Education.

 5          A.    Okay.    The -- no.                                13:30:29

 6          Q.    And does the State Board have any role

 7      with respect to school sports in West Virginia?

 8          A.    Just in the approval of the rules that the

 9      secondary school's association -- the SSAC

10      presents to them.                                            13:30:45

11          Q.    Does the State Board currently have any

12      roles pertaining to school sports?

13          A.    Only one.    It's in relation to the 2.0 GPA

14      for eligibility.

15          Q.    So can you tell me a little bit more about         13:30:58

16      what that rule involves?

17          A.    Just that students are required to

18      maintain a 2.0 in order to participate in a sport.

19          Q.    And are there any other rules that the

20      State Board has regarding school sports?                     13:31:12

21          A.    No.

22          Q.    Does the State Board monitor participation

23      in school sports?

24          A.    No.

25          Q.    Does the State Board have any rules                13:31:24

                                                                    Page 66

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 68 of 140 PageID #: 11629


 1      regarding students who are transgender?

 2          A.    No.

 3          Q.    Has the State Board ever received any

 4      complaints regarding students who are transgender

 5      participating in school sports?                              13:31:41

 6          A.    No.

 7          Q.    Has the superintendent ever received any

 8      complaints regarding students who are transgender

 9      participating in school sports?

10          A.    No.                                                13:31:56

11          Q.    So I want to shift back to talking more

12      specifically about H.B. 3293.        Are you familiar

13      with H.B. 3293?

14          A.    Yes.

15          Q.    Does H.B. 3293 require the State Board to          13:32:09

16      promulgate rules to implement H.B. 3293?

17          A.    Yes.

18          Q.    And has the State Board chosen an employee

19      to be the person responsible for promulgating the

20      rules to implement H.B. 3293?                                13:32:26

21          A.    No.

22          Q.    I'd like to introduce a new exhibit now.

23      I'll let you know when it's available in your

24      "Marked Exhibits" folder.

25                (Blatt Deposition Exhibit 18 was marked            13:32:43

                                                                    Page 67

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 69 of 140 PageID #: 11630


 1                electronically.)

 2                MS. VEROFF:    I just introduced Exhibit 18.

 3      BY MS. VEROFF:

 4          Q.    If you refresh your "Marked Exhibits"

 5      folder, you should be able to see it.           Please just    13:33:17

 6      let me know when you have it up.

 7          A.    It's up.

 8          Q.    Do you recognize this document?

 9          A.    Yes.

10          Q.    Great.                                               13:33:21

11                I'll represent that this is a discovery

12      response produced by your counsel to Plaintiff's

13      counsel and ask you to turn to page 6.

14                Just let me know when you're there.

15          A.    Okay.    We are there.                               13:33:42

16          Q.    If you look in the middle of the page,

17      you'll see Interrogatory Number 6, which says,

18      "Identify all PERSONS responsible for promulgating

19      rules to implement H.B. 3293."

20                And the answer states, "Heather Hutchens,            13:33:58

21      General Counsel for WVBE is responsible for

22      promulgating rules to implement H.B. 3293."

23                Did I read that correctly?

24          A.    Yes.

25          Q.    And can you tell me, what does WVBE stand            13:34:13

                                                                      Page 68

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 70 of 140 PageID #: 11631


 1      for?

 2             A.   The West Virginia Board of Education.

 3             Q.   And is it accurate that Heather Hutchens

 4      is responsible for promulgating rules to implement

 5      H.B. 3293?                                                   13:34:30

 6             A.   Heather Hutchens is -- does promulgate --

 7      or works with all of the rules and policies that

 8      are presented to the board.        So accord- -- because

 9      she --

10             Q.   Got it.                                          13:34:40

11             A.   -- you know, she would -- she would lead

12      that along with some other people within the

13      department, too, to craft a policy.

14             Q.   And so just to confirm I understand, so

15      Heather Hutchens works on all rules that are                 13:34:49

16      issued by the State Board?

17             A.   Yes.

18             Q.   And has anyone else who will be working on

19      implementing H.B. 3293 rules been chosen?

20             A.   Not to my knowledge.     The statute actually    13:35:02

21      came into effect after a lawsuit was filed.         So,

22      therefore, we chose to wait and see the outcome

23      as -- as opposed to spending the time developing a

24      rule that may or may not be changed based on court

25      action.                                                      13:35:22

                                                                    Page 69

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 71 of 140 PageID #: 11632


 1          Q.      And so have there been any discussions at

 2      the State Board about what rules implementing H.B.

 3      3293 will be?

 4                  MS. MORGAN:    Object to form and also to

 5      the extent that this requests communications with              13:35:38

 6      counsel.

 7                  THE WITNESS:    Could you repeat the

 8      question?

 9      BY MS. VEROFF:

10          Q.      Sure.                                              13:35:49

11                  And so I'm not asking you to disclose any

12      privileged communications you've had with your

13      attorneys.

14                  Have there been any discussions at the

15      State Board about what the rules implementing H.B.             13:35:59

16      3293 will be?

17          A.      No, other than just the simple what we

18      read in State Code.

19          Q.      I'm sorry, I couldn't understand the last

20      sentence.     Would you mind repeating it?                     13:36:12

21          A.      I said just looking at what is required in

22      State Code.

23          Q.      So there have been discussions at the

24      State Board about what H.B. 3293 requires?            Did I

25      understand correctly?                                          13:36:26

                                                                      Page 70

                                   Veritext Legal Solutions
                                        866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 72 of 140 PageID #: 11633


 1          A.    No, not -- not with the State Board.

 2          Q.    And -- and so who has had those

 3      discussions?

 4          A.    And I may have misspoke when you said

 5      "discussions."      But just stating that we would           13:36:36

 6      look at the language and the policy would

 7      replicate what is in State Code.

 8          Q.    I see.

 9                So there have been any discussions at the

10      State Board regarding H.B. 3293?                             13:36:45

11          A.    No.

12          Q.    And have there been any actions taken at

13      the State Board to prepare to promulgate rules

14      implementing H.B. 3293?

15          A.    No.     Again, we had not got to that prior        13:37:01

16      to the lawsuit.

17          Q.    Okay.     And so just to confirm, is it your

18      testimony that the State Board hasn't taken any

19      action to promulgate rules implementing H.B. 3293

20      because this lawsuit was filed?                              13:37:17

21          A.    Well, it's just the time frames and

22      because of the lawsuit, there -- we had not

23      had time --

24          Q.    And --

25                (Simultaneous speaking.)                           13:37:26

                                                                    Page 71

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 73 of 140 PageID #: 11634


 1                (Interruption in audio/video.)

 2          A.    There was not the -- there was not time

 3      prior to the lawsuit to start working on the rules

 4      when the session ended and the rule became

 5      effective.                                                   13:37:34

 6          Q.    So if this lawsuit had not been filed,

 7      would the State Board have begun preparing to

 8      implement rules to implement H.B. 3293?

 9                MS. MORGAN:    Objection as to form.      It

10      also calls for speculation.                                  13:37:46

11                You can answer the best that you can.

12                THE WITNESS:    Most likely, yes, we -- we

13      would have.

14      BY MS. VEROFF:

15          Q.    And would any rules the State Board issues         13:37:55

16      pursuant to H.B. 3293 have to be consistent with

17      H.B. 3293?

18          A.    Yes.

19          Q.    And so put another way, just to make sure

20      I understand, could the State Board issue rules in           13:38:10

21      conflict with H.B. 3293?

22          A.    No.

23          Q.    Under any rules that the State Board

24      issues to implement H.B. 3293, will cisgender

25      girls be able to participate girls sports team?              13:38:29

                                                                    Page 72

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 74 of 140 PageID #: 11635


 1          A.    Yes, according to my understanding of

 2      the -- the statute.

 3          Q.    And under any rules that the State Board

 4      issues to implement H.B. 3293, will transgender

 5      girls be able to participate on girls sports                 13:38:47

 6      teams?

 7          A.    Not from my understanding of the statute.

 8                MS. MORGAN:    And let me just place my

 9      objection as to form.     I didn't want to interrupt

10      her answer, but object to form.                              13:38:58

11      BY MS. VEROFF:

12          Q.    Must the West Virginia Secondary School

13      Activities Commission comply with any rule that

14      the State Board issues to implement H.B. 3293?

15                MS. GREEN:    Object to the form.                  13:39:10

16                MS. MORGAN:    Same objection.

17                THE COURT REPORTER:       Excuse me.      One

18      second.

19                Who objected to form?        I did not get the

20      speaker, please.                                             13:39:20

21                MS. GREEN:    This is Roberta Green here on

22      behalf of WVSSAC, and I object to the form.

23                MS. MORGAN:    And Kelly Morgan, I also

24      objected to form as well.

25      BY MS. VEROFF:                                               13:39:42

                                                                    Page 73

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 75 of 140 PageID #: 11636


 1          Q.    You can answer the question.          Please let

 2      me know if you need me to repeat it.

 3          A.    Yes, please.    Yes, please repeat I mean.

 4          Q.    Does the West Virginia Secondary School

 5      Activities Commission have to comply with any rule            13:39:54

 6      that the State Board promulgates to implement H.B.

 7      3293?

 8          A.    Yes.

 9          Q.    And does the Harrison County Board of

10      Education have to comply with any rule that the               13:40:05

11      State Board issues to implement H.B. 3293?

12          A.    Yes.

13                MS. DENIKER:    This is Susan Deniker.

14      Objection to the form.

15      BY MS. VEROFF:                                                13:40:18

16          Q.    You can go ahead and answer.

17          A.    Yes.

18          Q.    And does the Harrison County

19      Superintendent have to comply with any rule that

20      the State Board promulgates to implement H.B.                 13:40:31

21      3293?

22                MS. DENIKER:    This is Susan Deniker.

23      Objection to the form.

24                THE WITNESS:    Yes.

25      BY MS. VEROFF:                                                13:40:41

                                                                     Page 74

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 76 of 140 PageID #: 11637


 1          Q.    And does Bridgeport Middle School have to

 2      comply with any rule that the State Board

 3      promulgates to implement H.B. 3293?

 4                MS. DENIKER:     This is Susan Deniker.        Same

 5      objection.                                                       13:40:57

 6                THE WITNESS:     Yes.

 7      BY MS. VEROFF:

 8          Q.    I'm going to introduce a new exhibit now.

 9      I'll let you know when it's available in your

10      "Marked Exhibits" folder.                                        13:41:05

11                (Blatt Deposition Exhibit 19 was marked

12                electronically.)

13      BY MS. VEROFF:

14          Q.    I've now introduced Exhibit 19.           If you

15      refresh your "Marked Exhibits" folder, you should                13:41:26

16      be able to view it.      Please just let me know when

17      you have it up.

18          A.    Yes, it's up.

19          Q.    And do you recognize this document?

20          A.    Yes.                                                   13:41:40

21          Q.    I'll represent that these are documents

22      produced to plaintiff's counsel by your counsel as

23      part of your discovery production.

24                And I'm going to ask you to scroll to page

25      3 of this document.      In the bottom left corner,              13:41:51

                                                                        Page 75

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 77 of 140 PageID #: 11638


 1      you should see that it's Bates stamped WVSBOE

 2      '00008.

 3                  Do you see that?

 4          A.      Yes.

 5          Q.      And at the bottom of the -- the -- sorry.        13:42:05

 6                  At the bottom of page 3, you'll see an

 7      e-mail from Melissa White sent on Thursday,

 8      March 11, 2021, to Bernie Dolan with the subject

 9      line "Transgender participation in secondary

10      schools bill."                                               13:42:22

11                  Do you see that?

12          A.      Yes.

13          Q.      And do you recognize this e-mail?

14          A.      Yes, from my review of the documents.

15          Q.      Who is Melissa White?                            13:42:31

16          A.      Melissa White is the counsel for house

17      education.

18          Q.      And who is Bernie Dolan?

19          A.      Bernie Dolan is the executive director of

20      the SSAC.                                                    13:42:50

21          Q.      So The e-mail reads, "Bernie, Attached is

22      a draft of an originating bill regarding

23      transgender participation in sports.           I kept it

24      short.    There are obviously certain things that

25      would need to be handled in a rule, unless you               13:42:59

                                                                    Page 76

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 78 of 140 PageID #: 11639


 1      have language that you would like to see in the

 2      bill.    Please let me know your thoughts and if

 3      there are unintended consequences.          The Chairman

 4      does not want to keep girls from participating in

 5      boys sports when there are not girls teams.                      13:43:13

 6      Thanks, Melissa."

 7                 Did I read that correctly?

 8          A.     Yes.

 9          Q.     Do you know if Bernie Dolan responded to

10      this e-mail?                                                     13:43:35

11                 (Simultaneous speaking.)

12                 (Interruption in audio/video.)

13                 MS. MORGAN:    I'll just object to form.

14                 MS. GREEN:    Same objection.

15                 THE COURT REPORTER:      Excuse me.      Could

16      please repeat the --

17      BY MS. VEROFF:

18          A.     Did Bernie Dolan --

19                 THE COURT REPORTER:      Excuse me.      Could you

20      please repeat your objections.

21                 MS. MORGAN:    Object to form.

22                 MS. GREEN:    This is Roberta Green on

23      behalf of SS- -- deputy SSAC.        I object to form.

24      BY MS. VEROFF:

25          Q.     Did Bernie Dolan otherwise discuss H.B.               13:43:49

                                                                        Page 77

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 79 of 140 PageID #: 11640


 1      3293 with Melissa White?

 2                  MS. GREEN:    Object to the -- this is

 3      Roberta Green on behalf of SSAC.          I object to the

 4      form.

 5                  MS. MORGAN:    Object to form as well.             13:44:04

 6                  MS. VEROFF:    And moving forward, we can

 7      assume that an objection for one is an objection

 8      for all.

 9                  MS. MORGAN:    Well, I have --

10                  MS. GREEN:    Well, I appreciate that,             13:44:10

11      actually.     But I represent a different defendant,

12      and I would like to enter my objections myself.

13      Thank you.

14                  MS. MORGAN:    Yeah, I be- -- I agree with

15      Roberta.     I do not believe that is appropriate              13:44:19

16      protocol.     Objections should be placed by each

17      defendant.

18      BY MS. VEROFF:

19          Q.      You can go ahead and answer.         Please let

20      me know if you need me to repeat the question.                 13:44:35

21          A.      Yes, please repeat.

22          Q.      Did Bernie Dolan otherwise discuss H.B.

23      3293 with MW?

24                  MS. MORGAN:    Object to form and also calls

25      for speculation.                                               13:44:45

                                                                      Page 78

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 80 of 140 PageID #: 11641


 1                MS. GREEN:     I'll object to the form --

 2                MS. VEROFF:     I'm just re- --

 3                MS. GREEN:     -- foundation.       Scope and --

 4      way outside the scope for this witness.

 5                But, you know, not my witness.                      13:44:54

 6                MS. VEROFF:     Thank you.     This is the same

 7      question that I asked previously that you already

 8      objected to, and I was just repeating it for the

 9      witness's convenience.

10                THE WITNESS:     I have no idea.                    13:45:08

11      BY MS. VEROFF:

12          Q.    And do you know -- and I'm asking you on

13      behalf of the State Board -- know what things

14      Melissa White thought needed to be handled in a

15      rule?                                                         13:45:19

16                MS. MORGAN:     Object to form.       Also calls

17      for speculation.    Outside of the scope of these

18      topics.

19                THE WITNESS:     I do not --

20                MS. GREEN:     And this is Roberta Green on         13:45:24

21      behalf of SSAC.    I object to the form.

22                THE WITNESS:     I do not.

23      BY MS. VEROFF:

24          Q.    Does the State Board agree that certain

25      aspects of H.B. 3293 need to be handled in a rule?            13:45:35

                                                                     Page 79

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 81 of 140 PageID #: 11642


 1                MS. MORGAN:    Object to form.

 2                THE WITNESS:    I mean, the -- the State

 3      Board has not had that discussion, as they have not

 4      started to promulgate a rule.

 5      BY MS. VEROFF:                                               13:45:54

 6          Q.    And just to confirm, aside from

 7      rule-making, has the State Board taken any other

 8      action to contemplate the implementation of H.B.

 9      3293?

10                MS. MORGAN:    Object to form.                     13:46:10

11                THE WITNESS:    No, not to my knowledge.

12      BY MS. VEROFF:

13          Q.    I'd like now to ask you about some of the

14      people who are listed on the State Board's initial

15      disclosures.                                                 13:46:21

16                Let's start with Sarah Stewart.

17                Do you know who Sarah Stewart?

18          A.    Sarah Stewart was our previous legislative

19      liaison attorney that worked with -- at the

20      Department of Education.                                     13:46:34

21          Q.    And do you say "previous" because she no

22      longer works at the Department of Education?

23          A.    Correct.

24          Q.    And when did she leave that role?

25                MS. MORGAN:    Object to form.                     13:46:43

                                                                    Page 80

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 82 of 140 PageID #: 11643


 1                 Julie, this is beyond the -- the 12 topics

 2      set forth in this -- on this notice.

 3                 THE WITNESS:    I don't remember the exact

 4      date.    It's been within the last year.

 5      BY MS. VEROFF:                                                 13:46:58

 6          Q.     And did Sarah Stewart have any involvement

 7      with H.B. 3293 when it was pending before the

 8      legislature?

 9                 MS. MORGAN:    Same objection.

10                 THE WITNESS:    Other than just her -- her          13:47:08

11      role as the legislative liaison working with the --

12      with the different committees.

13      BY MS. VEROFF:

14          Q.     And did Sarah Stewart have any involvement

15      with H.B. 3293 after it was passed?                            13:47:21

16                 MS. MORGAN:    Object to form.        Beyond the

17      scope.    Calls for speculation.

18                 She's a 30(b)(6) witness.         You're not --

19      she -- she's not going to know personal factual

20      information held by Sarah Stewart.                             13:47:36

21                 THE WITNESS:    I don't know.

22      BY MS. VEROFF:

23          Q.     I'm going to ask now about Heather

24      Hutchens, who's listed in the initial disclosures.

25                 Do you know who Heather Hutchens is?                13:47:50

                                                                      Page 81

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 83 of 140 PageID #: 11644


 1          A.      I do.

 2          Q.      And what is her position?

 3          A.      She's general counsel for the Department

 4      of Education --

 5          Q.      And what --                                        13:47:57

 6                  (Simultaneous speaking.)

 7                  (Interruption in audio/video.)

 8          A.      Sorry.

 9          Q.      I'm sorry to interrupt.        No, no, that was

10      my fault.                                                      13:48:02

11                  What does the general counsel role entail?

12                  MS. MORGAN:    Object to form.

13                  THE WITNESS:    General counsel oversees all

14      the policies, regulations, the management of the --

15      the personnel for the State Board and for the                  13:48:17

16      Department of Education.

17      BY MS. VEROFF:

18          Q.      And did Heather Hutchens have any

19      involvement with H.B. 3293 when it was pending

20      before the legislature?                                        13:48:31

21                  MS. MORGAN:    Object to form.

22                  THE WITNESS:    Only what I've seen in

23      the -- the documents that were submitted.

24      BY MS. VEROFF:

25          Q.      And has Heather Hutchens have any                  13:48:40

                                                                      Page 82

                                   Veritext Legal Solutions
                                        866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 84 of 140 PageID #: 11645


 1      involvement with H.B. 3293 since it was passed?

 2                 MS. MORGAN:    Same objection.

 3                 THE WITNESS:    Not to my knowledge.

 4      BY MS. VEROFF:

 5            Q.   I'd like to next ask about Mary Catherine         13:48:51

 6      Tuckwiller.

 7                 Do you know who Mary Catherine Tuckwiller

 8      is?

 9            A.   I do.

10            Q.   And what is her position?                         13:49:01

11                 MS. MORGAN:    I'm going to go ahead and

12      place a standing objection.

13                 Again, these are beyond the scope of these

14      12 topics.    So object to form, and I will just

15      continue my objections here.                                 13:49:11

16                 Go ahead.

17                 THE WITNESS:    Mary Catherine Tuckwiller

18      was a staff attorney that formerly worked at the

19      Department of Education.

20      BY MS. VEROFF:                                               13:49:24

21            Q.   And what did her job as a staff attorney

22      entail?

23            A.   She worked directly for the general

24      counsel.

25            Q.   And did she have any involvement with H.B.        13:49:30

                                                                    Page 83

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 85 of 140 PageID #: 11646


 1      3293 when it was pending before the legislature?

 2          A.     I don't know other than what I've seen

 3      in -- in the documents that were submitted.

 4          Q.     And I'd like next ask about Stephanie

 5      Abraham.                                                     13:49:43

 6                 Do you know who Stephanie Abraham is?

 7          A.     I do.

 8          Q.     And what is her job?

 9          A.     She's also a staff attorney that works

10      under our general counsel.                                   13:50:01

11          Q.     And what does that job entail?

12          A.     Just -- she's assigned topics and -- and

13      cases and things from the general counsel.

14          Q.     And did she have any involvement with H.B.

15      3293 when it was pending before the legislature?             13:50:17

16          A.     Not to my knowledge.

17          Q.     And I'd like to also ask about Jonah

18      Adkins.

19                 Do you know who Jonah Adkins is?

20          A.     I do.                                             13:50:29

21          Q.     And what is his position?

22          A.     His current position is a coordinator in

23      our accountability office.

24          Q.     And did he have any involvement with H.B.

25      3293 when it was pending before the legislature?             13:50:41

                                                                    Page 84

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 86 of 140 PageID #: 11647


 1             A.      Not that I'm aware of.

 2             Q.      Great.    Thank you.

 3                     MS. VEROFF:    And just to respond to the

 4      objections, I just want to alert and point --

 5      direct counsel to Topic 12, which is all discovery                  13:50:53

 6      responses in this action, which the witness has

 7      said that she reviewed and those, of course,

 8      include the initial disclosures listing all the

 9      people that I just asked about.

10                     MS. MORGAN:    Yes, Julie.      Yes, but             13:51:04

11      discovery are not all-encompassing as all pleadings

12      filed in a case.          You're talking about initial

13      disclosures.

14                     Discovery responses, and as you've gone

15      through, have already been responses to                             13:51:18

16      interrogatories request for production of

17      documents, request for admissions.              Again, my

18      objection stands.

19                     MS. VEROFF:    Thank you.

20                     I think it's probably a good time to take            13:51:28

21      a quick break.          So maybe we can go off the record.

22                     MS. MORGAN:    We haven't quite been an hour

23      yet.        Can we not continue through?

24                     MS. VEROFF:    I've heard a request from

25      co-counsel to take a -- a quick break.                  So if we    13:51:42

                                                                           Page 85

                                     Veritext Legal Solutions
                                          866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 87 of 140 PageID #: 11648


 1      would just take five minutes as a courtesy to

 2      co-counsel, I think that would be great.

 3                THE VIDEOGRAPHER:      Okay.     We're going off

 4      the record.    The time is 1:51 p.m., and this is the

 5      end of Media Unit Number 2.                                   13:51:53

 6                (Short recess taken.)

 7                THE VIDEOGRAPHER:      We are back on the

 8      record at 2:03 p.m., and this is the beginning of

 9      Media Unit Number 3.

10                Go ahead.                                           14:04:10

11                MS. VEROFF:    Thank you so much.

12                I just want to preserve a -- a few things

13      for the record.    Just to note that plaintiff's

14      counsel had offered earlier in the deposition that

15      an objection for one could be an objection for all            14:04:20

16      to expedite things, and the defendants' counsel

17      prefers not to proceed that way.

18                There also have been certain objections

19      about questions beyond the scope.          And I wanted to

20      note for the record that the questions regarding              14:04:34

21      Superintendent Burch are encompassed within Topic

22      1.   And questions regarding the contents of initial

23      disclosures are encompassed in Topic 12.            And

24      questions regarding communications and discussions

25      concerning H.B. 3293 are encompassed in various               14:04:49

                                                                     Page 86

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 88 of 140 PageID #: 11649


 1      topics in the deposition notice.

 2      BY MS. VEROFF:

 3             Q.      So picking back up where we left off,

 4      Ms. Blatt -- -

 5                     MS. MORGAN:     Oh, I would like to respond           14:04:57

 6      here, Julie, before you proceed.              I'm not going to

 7      actually respond to each of your summarizations, as

 8      they are not appropriate.

 9                     All my objections are -- were accurately

10      stated on the record and will stand.                And those can    14:05:09

11      be addressed with the Court at a future date.

12                     MR. TRYON:     This is David Tryon.       I must

13      comment.

14                     Julie, you indicated that there was a

15      stipulation that an objection by one is an                           14:05:24

16      objection for all.           I do not recall hearing that.

17      I will not -- I'm not sure if that's an accurate

18      statement of the law or not.             But I do not remember

19      hearing that.        The record will show whatever it

20      was.        Thank you.                                               14:05:37

21                     MS. GREEN:     This is Roberta Green on

22      behalf of SSAC, and I also would like to make my

23      own objections.          I may have said that already on

24      the record.        But also my objections made up to this

25      point and those going forward will stand as well.                    14:05:54

                                                                            Page 87

                                      Veritext Legal Solutions
                                           866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 89 of 140 PageID #: 11650


 1      Thank you.

 2                MS. VEROFF:    Thank you so much.

 3      BY MS. VEROFF:

 4          Q.    So, let's dive back in, Ms. Blatt.

 5                Prior to H.B. 3293's passage, did anyone           14:06:04

 6      at the State Board have any communications about

 7      H.B. 3293 with legislators?

 8          A.    On what I've seen in the documents that

 9      were submitted with our legislative liaison.

10          Q.    And do you know about any communications           14:06:22

11      beyond what's captured in the discovery production

12      that you've seen?

13          A.    No.

14          Q.    And prior to H.B. 3293's passage, did

15      anyone at the State Board have any communications            14:06:35

16      about H.B. 3293 with legislative staff?

17          A.    The communication with Melissa White would

18      be one of their staff.

19          Q.    And was there any communications with

20      legislative staff over than Melissa White?                   14:06:53

21          A.    Not that I'm aware of.

22          Q.    And prior to H.B. 3293's passage, did

23      anyone at the State Board have any communications

24      about H.B. 3293 with Governor Justice?

25          A.    Not that I'm aware of.                             14:07:12

                                                                    Page 88

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 90 of 140 PageID #: 11651


 1          Q.    And prior to H.B. 3293's passage, did

 2      anyone at the State Board have communication about

 3      H.B. 3293 with any staff for Governor Justice?

 4          A.    Not that I'm aware of.

 5          Q.    Prior to H.B. 3293's passage, did anyone           14:07:26

 6      at the State Board have any communications about

 7      H.B. 3293 with Alliance Defending Freedom?

 8          A.    Not to my knowledge.

 9          Q.    And prior to H.B. 3293's passage, did

10      anyone at the State Board have any communications            14:07:44

11      about H.B. 3293 with any county board of

12      education?

13          A.    No, not to my knowledge.

14          Q.    And prior to H.B. 3293's passage, did

15      anyone at the State Board have any communications            14:07:58

16      about H.B. 3293 with any individual schools?

17          A.    Not to my knowledge.

18          Q.    Prior to H.B. 3293's passage, did anyone

19      at the State Board have any communications about

20      H.B. 3293 with any school principals?                        14:08:14

21          A.    Not to my knowledge.

22          Q.    And prior to H.B. 3293's passage, did the

23      State Board have any communications about H.B.

24      3293 with anyone other than the groups of folks

25      we've just talked about?                                     14:08:31

                                                                    Page 89

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 91 of 140 PageID #: 11652


 1          A.      No, not that I'm aware of.

 2          Q.      And prior to H.B. 3293's passage, did

 3      Superintendent Burch have any communications about

 4      H.B. 3293 with any of the individuals I've just

 5      asked you about?                                             14:08:46

 6          A.      Not that I'm aware of.

 7          Q.      Was anyone at the State Board ever told by

 8      a legislator what the purpose of H.B. 3293 was?

 9          A.      Not that I'm aware of.

10          Q.      Was anyone at the State Board ever told by       14:09:00

11      a legislative staffer what the purpose of the H.B.

12      3293 was?

13          A.      Not that I'm aware of.

14          Q.      I'd like to ask you a few questions about

15      the State Board's interactions with the House of             14:09:14

16      Delegates Education Committee while H.B. 3293 was

17      pending.

18                  Did anyone from the State Board answer

19      questions posed by the House of Delegates

20      Education Committee during meetings?                         14:09:31

21          A.      The State Board of Education does not

22      interact with the House Education Committee.        If

23      anyone would have interacted with them, it would

24      have been our legislative liaison, Sarah Stewart.

25          Q.      And so, did anyone -- so besides Sarah           14:09:40

                                                                    Page 90

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 92 of 140 PageID #: 11653


 1      Stewart, did anyone else at the Department of

 2      Education answer questions posed by the House of

 3      Delegates Education Committee?

 4          A.    I don't believe so.

 5          Q.    And at which House of Delegates Education           14:09:56

 6      Committee meeting did Sarah Stewart answer

 7      questions?

 8          A.    Are you referencing, like, a date or...

 9          Q.    Yes.     Can you tell me the dates on which

10      Sarah Stewart answered questions --                           14:10:07

11          A.    No.     I'm sorry.   I can't.

12                (Interruption in audio/video.)

13                THE COURT REPORTER:       Excuse me.      If you

14      could start the question over.         There was an

15      interruption.                                                 14:10:20

16      BY MS. VEROFF:

17          Q.    Sure.     I'll -- and I'll rephrase.

18                On which dates did Sarah Stewart answer

19      questions from the House of Delegates Education

20      Committee?                                                    14:10:28

21          A.    I don't know the dates.

22          Q.    Did you speak with Sarah Stewart in

23      preparation for today's deposition?

24          A.    I did not.

25          Q.    And do you know who posed questions to              14:10:37

                                                                     Page 91

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 93 of 140 PageID #: 11654


 1      Sarah Stewart at the House of Delegates Education

 2      Committee meetings?

 3          A.    No, I don't.

 4          Q.    Do you know what questions were asked of

 5      Sarah Stewart?                                               14:10:52

 6          A.    No.

 7          Q.    Do you know whether Sarah Stewart provided

 8      her answers orally or in writing?

 9          A.    I do not.

10          Q.    Do you know what answers Sarah Stewart             14:11:01

11      provided to the House of Delegates Education

12      Committee?

13          A.    I do not.

14          Q.    Did you review Sarah Stewart's testimony

15      before the House of Delegates Education Committee            14:11:16

16      for today's deposition?

17          A.    No, I have not.

18          Q.    Is it typical for staff at the Department

19      of Education to answer questions from the

20      legislature related to bills under consideration?            14:11:26

21          A.    Yes.   Usually technical ques- -- questions

22      are addressed.

23          Q.    And is Sarah Stewart usually the person

24      who provides that testimony?

25          A.    Yes, she was at the time.                          14:11:40

                                                                    Page 92

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 94 of 140 PageID #: 11655


 1          Q.    And who is the person now who would

 2      provide such testimony?

 3          A.    Drew McClanahan.

 4          Q.    And what is their position?

 5          A.    He's our legislative director now.                 14:11:56

 6          Q.    All right.

 7                So I'd like to direct you back to one of

 8      our marked exhibits.     So this is Exhibit 19.        It

 9      should already be in your Marked Exhibits folder.

10                If you can just let me know when you have          14:12:11

11      it up.

12          A.    Okay.    We have it up.

13          Q.    Great.

14                And I'd like to ask you to scroll to

15      page 3 of the PDF, please.       You'll see in the           14:12:23

16      bottom left corner it's Bates-stamped WVSBOE

17      000008.

18                Do you see that page?

19          A.    Yes.

20          Q.    And in the middle of the page, there's an          14:12:38

21      e-mail from Melissa White sent on Monday,

22      March 15th, 2021, to Sarah Stewart.           The subject

23      is "FW:   Transgender participation in secondary

24      schools bill."

25                Do you see that e-mail?                            14:12:55

                                                                    Page 93

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 95 of 140 PageID #: 11656


 1          A.    I do.

 2          Q.    And I'll represent that this is a document

 3      produced to plaintiff's counsel by your counsel as

 4      part of discovery production.

 5                Do you recognize this e-mail?                      14:13:04

 6          A.    Yes.

 7          Q.    Is it one that you reviewed in preparation

 8      for today's deposition?

 9          A.    Yes.

10          Q.    And the body of the e-mail says, "Sarah,           14:13:13

11      per our discussion.      Thank you, Melissa."

12                Did I read that correctly?

13          A.    Yes.

14          Q.    Do you know what "per our discussion"

15      refers to?                                                   14:13:27

16          A.    I do not.

17          Q.    And did you speak to Sarah Stewart about

18      this e-mail in preparation for today's deposition?

19                MS. MORGAN:     Asked and answered.

20                THE WITNESS:     I did not.                        14:13:39

21      BY MS. VEROFF:

22          Q.    Did you speak to Melissa White in

23      preparation for today's deposition?

24          A.    No.

25          Q.    Do you know if Sarah Stewart responded to          14:13:48

                                                                    Page 94

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 96 of 140 PageID #: 11657


 1      Melissa White's e-mail?

 2          A.    I don't know.

 3          Q.    I'd like you now to turn to page 2 of

 4      Exhibit 19.      You'll see in the bottom left-hand

 5      corner that it's Bates-stamped WVSBOE 000007.                14:14:00

 6                Do you see that e- -- that page?

 7          A.    Yes.

 8          Q.    And so, at the bottom of this page is an

 9      e-mail from Sarah Stewart sent on Monday,

10      March 15th, 2021, to Heather Hutchens, Stephanie             14:14:15

11      Abraham and Mary Catherine Tuckwiller with a

12      subject line, "FW:      Transgender participation in

13      secondary schools bill."

14                Do you see that e-mail?

15          A.    I do.                                              14:14:29

16          Q.    And I'll represent that your counsel

17      provided this document to plaintiff's counsel as

18      part of discovery production.

19                The e-mail reads, "Happy Monday.          Would

20      you all care to take a look at this one and                  14:14:40

21      provide feedback (preferably in writing)?           Not

22      necessarily on the substance, but modifications we

23      would suggest.      I have to leave for a funeral soon

24      and not sure when will be back this afternoon.

25      Thanks, Sarah."                                              14:14:55

                                                                    Page 95

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 97 of 140 PageID #: 11658


 1                Did I read that correctly?

 2          A.    Yes.

 3          Q.    And do you recognize this e-mail?

 4          A.    Yes.

 5          Q.    Did you review it in preparation for                 14:15:01

 6      today's deposition?

 7          A.    (No response by witness.)

 8          Q.    And by "take a look at this one" --

 9                THE COURT REPORTER:       Excuse me.      I don't

10      know if there was an audio glitch, but I did not               14:15:18

11      get an answer.

12                THE WITNESS:    It was yes.

13      BY MS. VEROFF:

14          Q.    By "take a look at this one," was Sarah

15      Stewart referring to the draft of H.B. 3293?                   14:15:34

16                MS. MORGAN:    Object to form.        Calls for

17      speculation.

18                THE WITNESS:    It would appear that

19      that's -- by looking at the subject line.

20      BY MS. VEROFF:                                                 14:15:46

21          Q.    And do you know why Sarah Stewart asked

22      these three individuals for their feedback on H.B.

23      3293?

24                MS. MORGAN:    Objection as to form.         And

25      calls for speculation.                                         14:15:58

                                                                      Page 96

                                 Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 98 of 140 PageID #: 11659


 1                 THE WITNESS:    They all are in our legal

 2      office.    They're all three attorneys.

 3      BY MS. VEROFF:

 4          Q.     And do you know why Sarah Stewart

 5      preferred to receive their feedback in writing?                14:16:11

 6                 MS. MORGAN:    Same objections.

 7                 THE WITNESS:    I do not.

 8      BY MS. VEROFF:

 9          Q.     Do you know who Sarah Stewart plans to

10      share any suggested modifications with?                        14:16:23

11                 MS. MORGAN:    Same objections.

12                 THE WITNESS:    I do not.

13      BY MS. VEROFF:

14          Q.     Did any of the recipients of this e-mail

15      respond?                                                       14:16:35

16          A.     Yes, I believe there was a response from

17      one of them in -- in the exhibits.           I think it may

18      have been Mary Catherine Tuckwiller.

19          Q.     And do you know if any of them suggested

20      modifications to H.B. 3293?                                    14:16:55

21          A.     I do not.

22          Q.     And did you speak with Heather Hutchens

23      about this e-mail in preparing for today's

24      deposition?

25                 MS. MORGAN:    Ob- -- object to form.       And     14:17:07

                                                                      Page 97

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 99 of 140 PageID #: 11660


 1      you're also asking about communications between

 2      Michele as -- with counsel.        That's protected by

 3      the attorney-client privilege.

 4                You can answer whether you actually spoke

 5      to her, just not to -- as to any substance.                  14:17:27

 6                THE WITNESS:    Not --

 7                (Interruption in audio/video.)

 8                THE COURT REPORTER:       Can you please

 9      repeat.

10                THE WITNESS:    I said, "Not in relation to        14:17:32

11      the e-mail."

12      BY MS. VEROFF:

13          Q.    And did you speak with Stephanie Abraham

14      about this e-mail in preparation for today's

15      deposition?                                                  14:17:42

16                MS. MORGAN:    Same objection and same

17      direction.

18                THE WITNESS:    No.

19      BY MS. VEROFF:

20          Q.    And did you ask -- did you speak with Mary         14:17:48

21      Catherine Tuckwiller about this e-mail in

22      preparation for today's deposition?

23                MS. MORGAN:    Same objection.        Same

24      direction.

25                THE WITNESS:    No.                                14:17:59

                                                                    Page 98

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 100 of 140 PageID #: 11661


  1     BY MS. VEROFF:

  2          Q.    And do you know where we would find the

  3     information about whether any of these individuals

  4     suggested modifications to H.B. 3293?

  5          A.    I do not.                                          14:18:10

  6          Q.    I'd like you now to look at page 1 of this

  7     exhibit, which at the bottom is Bates stamped

  8     WVSBOE 000006.

  9                Just let me know when you're on that page.

 10          A.    We're there.                                       14:18:30

 11          Q.    Great.

 12                So at the top you'll see an e-mail from

 13     Heather Hutchens sent on Monday, March 15th, 2021,

 14     to Mary Catherine Tuckwiller, Sarah Stewart, and

 15     Stephanie Abraham.     The Subject line is "RE:               14:18:42

 16     Transgender participation in secondary schools

 17     bill."

 18                Do you recognize this e-mail?

 19          A.    Yes.

 20          Q.    Did you review it in preparation for               14:18:48

 21     today's deposition?

 22          A.    Yes.

 23          Q.    The body of the e-mail reads, "It seems

 24     like much ado about nothing.         I don't think any of

 25     it is necessary."                                             14:19:01

                                                                    Page 99

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 101 of 140 PageID #: 11662


  1                Did I read that correctly?

  2          A.    Yes.

  3          Q.    And when Heather Hutchens said "It seems

  4     like much ado about nothing," was she referring to

  5     H.B. 3293?                                                     14:19:14

  6                MS. MORGAN:    Object to form.        You're --

  7     again, this is a 30(b)(6) deposition.

  8                You can [verbatim] --

  9                (Interruption in audio/video.)

 10                -- actually ask individuals about their             14:19:20

 11     personal knowledge, but I will let you answer to

 12     the extent that you're able to do so.

 13                THE WITNESS:    Only looking at the subject

 14     line, would I suspect that's what it is.

 15     BY MS. VEROFF:                                                 14:19:33

 16          Q.    And did you discuss this e-mail with

 17     Heather Hutchens in preparing for today's

 18     deposition?

 19                MS. MORGAN:    Object to form to the extent

 20     that it is asking about her discussions with                   14:19:41

 21     counsel protected by the attorney-client privilege.

 22                But you can testify as to whether you

 23     actually spoke to her, just not as to substance.

 24                THE WITNESS:    Yes.

 25     BY MS. VEROFF:                                                 14:19:57

                                                                     Page 100

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 102 of 140 PageID #: 11663


  1          Q.    Thank you.

  2                And -- and just to confirm, as I said at

  3     the outset, I'm not asking for any confidential

  4     communications that you've had with your counsel.

  5     I'm just asking about the nature of your                      14:20:03

  6     preparation for today's deposition.

  7                So just looking for whether or not you

  8     spoke with someone.

  9                And so when Heather Hutchens writes here

 10     that H.B. 3293 is, quote, "much ado about                     14:20:12

 11     nothing," what was her reason for concluding that

 12     H.B. 3293 was "much ado about nothing"?

 13                MS. MORGAN:    Object to form and

 14     speculation.

 15                THE WITNESS:    The only thing I would say         14:20:27

 16     is that we've not had an issue in West Virginia

 17     regarding transgender in sports.

 18     BY MS. VEROFF:

 19          Q.    Does the State Board agree that H.B. 3293

 20     is much ado about nothing?                                    14:20:38

 21                MS. MORGAN:    Object to form.

 22                THE WITNESS:    I could not answer to that

 23     for the State Board.

 24     BY MS. VEROFF:

 25          Q.    And are you here speaking today on behalf          14:20:46

                                                                   Page 101

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 103 of 140 PageID #: 11664


  1     of the State Board?

  2                    MS. MORGAN:    Asked and answered.

  3     Obviously she has been designated to testify as to

  4     the 12 topics identified in the notice.

  5                    THE WITNESS:    Yes.                           14:20:57

  6     BY MS. VEROFF:

  7            Q.      But you don't know the State's position on

  8     whether the -- I'm sorry, the State Board's

  9     position on whether it would agree that H.B. 3293

 10     is "much ado about nothing"?                                  14:21:09

 11                    MS. MORGAN:    Object to form.

 12                    THE WITNESS:    I just know that we don't

 13     see an issue in West Virginia.

 14     BY MS. VEROFF:

 15            Q.      Okay.                                          14:21:18

 16                    So I'm going to introduce a new exhibit

 17     now.        I'll let you know when you can expect to see

 18     it in the "Marked Exhibits" folder.

 19                    (Blatt Deposition Exhibit 20 was marked

 20                    electronically.)                               14:21:40

 21     BY MS. VEROFF:

 22            Q.      If you'll refresh your "Marked Exhibits"

 23     folder, you should now see what's marked as

 24     Exhibit 20.        Please just let me know when you have

 25     it up.                                                        14:21:51

                                                                    Page 102

                                      Veritext Legal Solutions
                                           866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 104 of 140 PageID #: 11665


  1          A.    I'm sorry, it's up.

  2          Q.    Oh, okay.     Excellent.

  3          A.    I'm sorry, I zoned out there.

  4          Q.    No problem.

  5                So I'd like to direct you to the first             14:22:13

  6     page, which is Bates stamped in the bottom left

  7     corner WVSBOE 000002.

  8                And on this e-mail -- or, I'm sorry, on

  9     this page is an e-mail from Melissa White dated

 10     Wednesday, March 17th, 2021, to Sarah Stewart.                14:22:29

 11     The Subject line is "HB 3293 (single-sex sports)."

 12                Do you recognize this e-mail?

 13          A.    Yes.

 14          Q.    Did you review it in preparation for

 15     today's deposition?                                           14:22:42

 16          A.    Yes.

 17          Q.    And I'll represent that this document was

 18     provided by your counsel to Plaintiff's counsel as

 19     part of discovery production.         The body of the

 20     e-mail reads, "Sarah, As we discussed, how does               14:22:52

 21     this look?    Thanks, Melissa."

 22                Did I read that correctly?

 23          A.    Yes.

 24          Q.    And do you know what "as we discussed"

 25     refers to?                                                    14:23:04

                                                                   Page 103

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 105 of 140 PageID #: 11666


  1                MS. MORGAN:    Object to form.

  2                THE WITNESS:     I do not.

  3     BY MS. VEROFF:

  4          Q.    Did Sarah Stewart and Melissa White have

  5     any discussions about H.B. 3293?                              14:23:13

  6                MS. MORGAN:    Object to form.

  7                THE WITNESS:     I -- I only know what I read

  8     there in the e-mail.

  9     BY MS. VEROFF:

 10          Q.    And did Sarah Stewart respond to Melissa           14:23:22

 11     White's e-mail?

 12          A.    I'm not aware.

 13          Q.    And do you know how we would find out the

 14     answer to that question?

 15                MS. MORGAN:    Object to form.                     14:23:34

 16                THE WITNESS:     I do not.

 17     BY MS. VEROFF:

 18          Q.    Is it common for legislative staff to

 19     solicit feedback from State Board employees?

 20          A.    Yes, particularly through our legislative          14:23:45

 21     liaison.

 22          Q.    And when the Department of Education sends

 23     feedback on proposed legislation, does the

 24     legislature typically take it into account?

 25          A.    Most of the feedback we would provide              14:24:02

                                                                   Page 104

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 106 of 140 PageID #: 11667


  1     would be technical in nature.         We're referencing a

  2     policy or something like that.          And that type of

  3     technical information, they will usually consider.

  4                MS. MORGAN:    Let me also place my

  5     objection as to form on the record.                            14:24:14

  6     BY MS. VEROFF:

  7          Q.    And do you know if the legislatures --

  8     legislature took into account the Department of

  9     Education's feedback on H.B. 3293?

 10                MS. MORGAN:    Object as to form.                   14:24:25

 11                THE WITNESS:    I do not.

 12                MS. VEROFF:    I'm going to introduce

 13     another exhibit now.      I'll let you know when it's

 14     available in the marked exhibits folder.

 15                (Blatt Deposition Exhibit 21 was marked             14:24:38

 16                electronically.)

 17     BY MS. VEROFF:

 18          Q.    I've now placed what is marked as Exhibit

 19     21 in the "Marked Exhibits" folder.            Please just

 20     let me know when you're able to pull it up.                    14:25:01

 21                MS. MORGAN:    What number did you say

 22     again?

 23                MS. VEROFF:    It should be Exhibit 21.

 24                THE WITNESS:    Yes, I see it.

 25     BY MS. VEROFF:                                                 14:25:19

                                                                     Page 105

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 107 of 140 PageID #: 11668


  1          Q.     Great.

  2                 And this is Bates stamped in the bottom

  3     left corner.       The first page is WVSBOE 000013.

  4     And the document goes through WVSBOE 000036.

  5                 And I'll represent that your counsel              14:25:35

  6     provided this document to Plaintiff's counsel as

  7     part of discovery production.

  8                 Do you recognize this document?

  9          A.     Yes.

 10          Q.     And can you tell me what it was?                  14:25:47

 11          A.     It's our summary of legislation that was

 12     passed in that 2021 session.

 13          Q.     And -- so this is the -- the "2021 Green

 14     Book."     And is this prepared every legislative

 15     session?                                                      14:25:59

 16          A.     Yes.

 17          Q.     And who prepares the summaries in the

 18     Green Book?

 19          A.     They're either prepared by our legislative

 20     liaison, or it may be prepared by -- if we had                14:26:09

 21     a -- a lead that was representing that bill.

 22          Q.     And does anyone have to approve the

 23     summaries that are prepared?

 24          A.     We approve them through our legal office.

 25          Q.     And who receives the 2021 Green Book?             14:26:22

                                                                   Page 106

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 108 of 140 PageID #: 11669


  1          A.    We prepare it for the Department's

  2     reference and then for our county superintendents.

  3          Q.    And how do the county superintendents

  4     access the 2021 Green Book?

  5          A.    It's available electronically on our               14:26:37

  6     website.

  7          Q.    And for each bill listed in the Green

  8     Book, is there a WVDE context?

  9          A.    Yes, I believe so.

 10          Q.    And does "WVDE" stand for West Virginia            14:26:55

 11     Department of Education?

 12          A.    Yes.

 13          Q.    And what does it mean to be the Department

 14     of Education contact for a bill?

 15          A.    It just means that if someone has                  14:27:07

 16     questions regarding that bill, this is who they

 17     should reach out to.

 18          Q.    And how are people chosen to be the

 19     Department of Education contact for a given bill?

 20          A.    Just based on their background and their           14:27:18

 21     experience and maybe their work with that bill as

 22     it was being led through the legislation.

 23          Q.    And if someone is listed as the Department

 24     of Education contact, does that mean that they

 25     speak on behalf of the Department of Education                14:27:34

                                                                   Page 107

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 109 of 140 PageID #: 11670


  1     when they answer questions about the bill?

  2          A.    Yes.

  3          Q.    I'd like you to turn to page 23 of

  4     Exhibit 21.       It's page 23 of the PDF.

  5                Just let me know when you're there.                14:27:49

  6          A.    Okay.     We're there.

  7          Q.    Great.

  8                So you'll see two bills listed on this

  9     page, the second of which is "House Bill 3293:

 10     Relating to single-sex participation in                       14:28:16

 11     interscholastic athletic events."

 12                Do you see that?

 13          A.    Yes.

 14          Q.    And who is listed as the WVDE contact for

 15     House Bill 3293?                                              14:28:28

 16          A.    It says "Bernie Dolan, West Virginia

 17     Secondary Schools Activities Commission."

 18          Q.    And why was Bernie Dolan chosen as the

 19     Department of Education contact for House Bill

 20     3293?                                                         14:28:40

 21                MS. GREEN:     Roberta Green on behalf of

 22     SSAC.

 23                Object to the form.

 24                THE WITNESS:     He was chosen because

 25     this -- he is in charge of the SSAC and the                   14:28:49

                                                                   Page 108

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 110 of 140 PageID #: 11671


  1     regulation and oversight of those athletic events.

  2     BY MS. VEROFF:

  3          Q.    And as the Department of Education contact

  4     for House Bill 3293, he was speaking on behalf of

  5     the Department of Education if someone contacted               14:29:04

  6     him with questions?

  7                MS. MORGAN:     Object to form.

  8                MS. GREEN:     I'm going to object to the

  9     form.

 10                Roberta Green, SSAC.                                14:29:14

 11                THE WITNESS:     He would be speaking in

 12     reference to what was in the statute, if contacted.

 13     BY MS. VEROFF:

 14          Q.    And is it unusual for a non-Department of

 15     Education employee to be listed as the contact for             14:29:28

 16     a bill?

 17                MS. MORGAN:     Object to form.

 18                THE WITNESS:     I would say it is not a

 19     normal practice; however, the -- our lead on that

 20     bill had been Sarah Stewart.         By the time this book     14:29:43

 21     was published, she had already left, so he was the

 22     one that would be able to be most versed in the

 23     statute.

 24     BY MS. VEROFF:

 25          Q.    I see.                                              14:29:53

                                                                     Page 109

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 111 of 140 PageID #: 11672


  1                So if Sarah Stewart had still been at the

  2     Department of Education, she would have been

  3     listed as the contact?

  4                MS. MORGAN:    Object to form.

  5                THE WITNESS:    Most likely.                       14:30:00

  6     BY MS. VEROFF:

  7          Q.    And the last sentence of the bill summary

  8     reads, "The WVBE is charged with adopting a policy

  9     to implement the provisions of the bill."

 10                Did I read that correctly?                         14:30:14

 11          A.    Yes.

 12          Q.    And do you agree that the State Board is

 13     charged with adopting a policy to implement the

 14     provisions of H.B. 3293?

 15          A.    Yes, according to what I read in statute.          14:30:24

 16          Q.    Great.

 17                MS. VEROFF:    Let me introduce another

 18     exhibit now.      I'll let you know when you can expect

 19     it in your "Marked Exhibits" folder.

 20                (Blatt Deposition Exhibit 22 was marked            14:30:52

 21                electronically.)

 22     BY MS. VEROFF:

 23          Q.    You should now be able to see Exhibit 22

 24     in your "Marked Exhibits" folder if you refresh.

 25     Please just let me know when you're able to see               14:31:02

                                                                   Page 110

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 112 of 140 PageID #: 11673


  1     it.

  2           A.   Okay, I can see it.

  3           Q.   Great.

  4                And this is Bates stamped in the bottom

  5     left corner WVSBOE 000037, and then the second                 14:31:09

  6     page is 000038.

  7                I'll represent that your counsel provided

  8     this document to Plaintiff's counsel as part of

  9     discovery production.

 10                Do you recon- -- recognize this document?           14:31:25

 11           A.   Yes.

 12           Q.   And what is it?

 13           A.   It's our -- the abstract that we complete

 14     as legislation is sent to the governor's office.

 15           Q.   And did you review this document in                 14:31:39

 16     preparation for today's deposition?

 17           A.   Yes.

 18           Q.   Is the Enrolled Bill Review Form a

 19     standard form that's prepared for all bills that

 20     pass?                                                          14:31:52

 21           A.   Yes.

 22           Q.   And how did this form develop?

 23                MS. MORGAN:    Object to form.

 24                THE WITNESS:    I don't know.        We've used

 25     the form as long as I'm aware of that I've been                14:32:04

                                                                     Page 111

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 113 of 140 PageID #: 11674


  1     here.

  2     BY MS. VEROFF:

  3            Q.   Is there a law requiring use of this form?

  4                 MS. MORGAN:    Object to form.

  5                 THE WITNESS:    I'm not -- I'm not aware of       14:32:14

  6     one.

  7     BY MS. VEROFF:

  8            Q.   And who prepared this Enrolled Bill Review

  9     Form for H.B. 3293?

 10            A.   Sarah Stewart, our legislative liaison,           14:32:21

 11     our government affairs counsel.

 12            Q.   And who receives the Enrolled Bill Review

 13     Form?

 14            A.   They're sent to the governor's office.

 15            Q.   And who in the governor's office receives         14:32:35

 16     it?

 17            A.   I'm not sure if there's an exact person.

 18     I mean, there's a chief of staff that has several

 19     attorneys on staff.

 20            Q.   And is it sent to anyone else?                    14:32:51

 21            A.   No, not to my knowledge.

 22            Q.   And do you know what the governor's office

 23     does with the form when it receives it?

 24                 MS. MORGAN:    Object to form.

 25                 THE WITNESS:    My understanding is just          14:33:02

                                                                   Page 112

                                   Veritext Legal Solutions
                                        866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 114 of 140 PageID #: 11675


  1     that they -- they review the agency's summary of

  2     the bill in determination, recommendations that

  3     they would make to the governor.

  4     BY MS. VEROFF:

  5          Q.    And besides Sarah Stewart, who prepared            14:33:11

  6     the Enrolled Bill Review Form, did anyone else at

  7     the Department of Education review this Enrolled

  8     Bill Form [verbatim] for H.B. 3293?

  9          A.    I can't speak exactly to this bill.       But

 10     the normal process is the state superintendent                14:33:32

 11     would review prior to submitting.

 12          Q.    And do you know if the state

 13     superintendent reviewed this Enrolled Bill Form

 14     [verbatim] for H.B. 3293?

 15                MS. MORGAN:    Object to form.                     14:33:41

 16                THE WITNESS:    I can't -- I believe so, but

 17     I can't speak for definite.

 18     BY MS. VEROFF:

 19          Q.    And on the second page of the PDF, which

 20     is Bates stamped WVSBOE 000038, there's Item                  14:33:50

 21     Number 14, which says, "Is a Governor's veto

 22     recommended?     If yes, please explain."

 23                And the answer provided is "The WVDE does

 24     not support this bill."

 25                Did I read that correctly?                         14:34:08

                                                                   Page 113

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 115 of 140 PageID #: 11676


  1          A.     Yes.

  2          Q.     And does WVDE stand for West Virginia

  3     Department of Education here?

  4          A.     Yes.

  5          Q.     And is it correct that the Department of                14:34:17

  6     Education did not support H.B. 3293?

  7          A.     Department of Education did -- as we've

  8     talked --

  9                 (Interruption in audio/video.)

 10                 THE COURT REPORTER:       Excuse me.      Could you     14:34:31

 11     please start over your answer.           There was an

 12     interruption in audio.

 13                 THE WITNESS:    The -- the Department of

 14     Education did not see that we had an issue with

 15     transgender in sports that would require us to take                 14:34:43

 16     the necessary steps and work to promulgate a rule.

 17                 And then also, normally a rule in relation

 18     to sports would have been created by the SSAC and

 19     then brought forth to the Board of Education.

 20     BY MS. VEROFF:                                                      14:35:04

 21          Q.     And were there any other reasons besides

 22     those two that the Department of Education didn't

 23     support H.B. 3293?

 24          A.     Not that I'm aware of.

 25          Q.     And who made the decision that the                      14:35:13

                                                                          Page 114

                                   Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 116 of 140 PageID #: 11677


  1     Department of Education didn't support H.B. 3293?

  2          A.     Well, as I -- as I said a little bit

  3     earlier, I will -- you know, it's a discussion

  4     between our legislative attorney and the state

  5     superintendent.                                                    14:35:29

  6          Q.     And were the reasons that the Department

  7     of Education didn't support H.B. 3293 written down

  8     anywhere?

  9          A.     Not to my knowledge.

 10          Q.     And were there any memos or other                      14:35:41

 11     documents prepared that underlie --

 12                 (Interruption in audio/video.)

 13                 THE COURT REPORTER:      Excuse me.      Could you

 14     please start over.

 15                 MS. VEROFF:   Of course.                               14:35:53

 16     BY MS. VEROFF:

 17          Q.     Were there any documents that capture

 18     the -- the reasoning arising at the conclusion

 19     that the Department of Education doesn't support

 20     the bill?                                                          14:36:02

 21          A.     No, I don't believe there are any

 22     documents for -- for any other bill.

 23          Q.     And did the Department of Education tell

 24     any legislators that it didn't support H.B. 3293?

 25          A.     Not necessarily.     I mean, I don't know              14:36:19

                                                                         Page 115

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 117 of 140 PageID #: 11678


  1     that there -- if there were conversations held

  2     between *Sarah* and the legislators.

  3                (Interruption in audio/video.)

  4                THE COURT REPORTER:       Excuse me.

  5                "Between Sara and"?                                14:36:36

  6                THE WITNESS:    The legislators.

  7     BY MS. VEROFF:

  8          Q.    And did the Department of Education tell

  9     any legislative staff that it didn't support H.B.

 10     3293?                                                         14:36:48

 11          A.    I'm not aware of anything that was said.

 12                MS. MORGAN:    Julie, hold up just one

 13     moment.    What I'm going to do is I'm going to move

 14     this speaker more in front.        That might be -- if

 15     you want to move that for a second -- that might be           14:36:57

 16     part of why her -- her face is looking at different

 17     directions.    So it might be -- see if that's any

 18     better.

 19                THE WITNESS:    I'm not in the middle.

 20     BY MS. VEROFF:                                                14:37:11

 21          Q.    Did the Department of Justice [verbatim]

 22     speak with anyone in Governor Justice -- Justice's

 23     office about its decision not to support H.B.

 24     3293?

 25                MS. MORGAN:    Department of Justice?              14:37:23

                                                                   Page 116

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 118 of 140 PageID #: 11679


  1                MS. VEROFF:    I'm sorry.      In Governor --

  2     Governor Justice's office.

  3                MS. MORGAN:    The question was, did the --

  4     anyone in the Department of Justice.

  5                MS. VEROFF:    Sorry.                              14:37:34

  6     BY MS. VEROFF:

  7          Q.    Did anyone in the Department of Education

  8     speak with anyone in Governor Justice's office

  9     about the Department's decision not to support

 10     H.B. 3293?                                                    14:37:43

 11          A.    Not that I'm aware of.

 12          Q.    And did anyone at the Department of

 13     Education ask Governor Justice to veto H.B. 3293?

 14          A.    Not that I'm aware of, no.

 15          Q.    And is the Department of Education's               14:37:58

 16     current position that it doesn't support H.B.

 17     3293?

 18                MS. MORGAN:    Object to form.

 19                THE WITNESS:    We -- the Department of

 20     Education has to -- we have to follow anything once           14:38:08

 21     it is codified and put in statute.

 22     BY MS. VEROFF:

 23          Q.    And does the State Board not support H.B.

 24     3293?

 25                MS. MORGAN:    Object to form.                     14:38:21

                                                                   Page 117

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 119 of 140 PageID #: 11680


  1                THE WITNESS:    Once it was codified, the

  2     State Board is charged with implementing and

  3     enforcing.

  4     BY MS. VEROFF:

  5          Q.    How frequently does the Department of               14:38:31

  6     Education decide that it doesn't support a bill?

  7          A.    I could not speak to the frequency.          We

  8     have a few different options.         You know, we --

  9     there are ought times when we say ask for a veto.

 10     Specifically there are times when we say we don't              14:38:50

 11     have a stance.      So I'm not sure.

 12          Q.    In your tenure as deputy superintendent,

 13     have you ever seen an Enrolled Bill Review Form

 14     besides the one for H.B. 3293 that says that the

 15     Department of Education doesn't support a bill?                14:39:01

 16          A.    This would actually be my first year as --

 17     in -- as deputy with a session and for -- I

 18     wouldn't have access to those to review prior to

 19     them being submitted.      And we haven't had any

 20     legislation sent to the governor's office yet.                 14:39:18

 21          Q.    I see.

 22                And so you weren't in this role when this

 23     Enrolled Bill Review Form was passed?            Am I

 24     understanding that correctly?

 25          A.    I don't believe so.                                 14:39:28

                                                                     Page 118

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 120 of 140 PageID #: 11681


  1          Q.    Got it.

  2                And I'd like now for you to look at Item

  3     Number 15, so just below where we were looking,

  4     which says, "Please identify whether any other

  5     state agency should also provide a bill review:"              14:39:45

  6     And the answer is "HEPC."

  7                Did I read that correctly?

  8          A.    Yes.

  9          Q.    What is HEPC?

 10          A.    It's our Higher Education Policy                   14:39:55

 11     Commission.

 12          Q.    And what is the HEPC's relationship to the

 13     Department of Education?

 14          A.    Really the best way to describe it is like

 15     a sister agency.     It oversees our colleges and             14:40:08

 16     current technical centers -- or career and

 17     technical -- I'm sorry, career and --

 18                (Interruption in audio/video.)

 19                THE COURT REPORTER:       Excuse me.

 20                THE WITNESS:    I'm sorry, career and              14:40:17

 21     technical community colleges.

 22     BY MS. VEROFF:

 23          Q.    Thank you.

 24                And did anyone in the Department of

 25     Education have any communication with anyone at               14:40:26

                                                                   Page 119

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 121 of 140 PageID #: 11682


  1     HEPC about H.B. 3293?

  2                MS. MORGAN:    Object to form.

  3                THE WITNESS:    I'm not aware of any

  4     communication.

  5     BY MS. VEROFF:                                                14:40:36

  6          Q.    And did the superintendent have any

  7     communications with anyone at HEPC about H.B.

  8     3293?

  9                MS. MORGAN:    Object to form.

 10                THE WITNESS:    Not that I'm aware of.             14:40:45

 11     BY MS. VEROFF:

 12          Q.    And why did the Department of Education

 13     believe that HEPC should also provide a bill

 14     review?

 15          A.    Because the bill references sports at the          14:40:54

 16     college level as well, and so they -- they had

 17     oversight over that age of students.

 18          Q.    And did HEPC actually provide a bill

 19     review?

 20          A.    I don't know if they did or not.                   14:41:10

 21                MS. VEROFF:    And now I'd like to introduce

 22     another exhibit.     I'll let you know when this is

 23     available to you in the Marked Exhibits folder.

 24                (Blatt Deposition Exhibit 23 was marked

 25                electronically.)                                   14:41:43

                                                                   Page 120

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 122 of 140 PageID #: 11683


  1     BY MS. VEROFF:

  2          Q.    You should now see Exhibit 23 in your

  3     Marked Exhibits folder.      Just let me know when you

  4     have it.

  5          A.    Okay.                                               14:41:52

  6          Q.    So this is Bates stamped WVSBOE 000001.

  7     It's an e-mail from Sarah Stewart, dated Thursday,

  8     July 1st, 2021, to Heather Hutchens.           Subject

  9     line --

 10                THE COURT REPORTER:      Could you slow down,

 11     please, Counsel.

 12                MS. VEROFF:   I'm so sorry.

 13     BY MS. VEROFF:

 14          Q.    It's from Sarah Stewart sent Thursday,

 15     July 1st, 2021, to Heather Hutchens.           The subject     14:42:18

 16     line is "fyi."

 17                Do you recognize this e-mail?

 18          A.    Yes.

 19          Q.    And I'll represent that it was provided by

 20     your counsel to plaintiff's counsel as part of                 14:42:23

 21     discovery production.

 22                Did you review this e-mail in preparation

 23     for today's deposition?

 24          A.    I did.

 25          Q.    And did you review the article that Sarah           14:42:34

                                                                     Page 121

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 123 of 140 PageID #: 11684


  1     Stewart links to in the body of the e-mail?

  2          A.    I did not.

  3          Q.    Do you know why Sarah Stewart e-mailed

  4     this article to Heather Hutchens?

  5                MS. MORGAN:    Object to form.                     14:42:47

  6                THE WITNESS:    I don't, but I would -- you

  7     know, I would assume she was just sharing

  8     information on the fact that it had been

  9     a MetroNews article.      It's not uncommon for

 10     anything us to share education -- anything related            14:43:00

 11     to education with each other.

 12     BY MS. VEROFF:

 13          Q.    And did Heather Hutchens respond to this

 14     e-mail?

 15                MS. MORGAN:    Heather Hutchens or Sarah           14:43:09

 16     Stewart?

 17     BY MS. VEROFF:

 18          Q.    Did Heather Hutchens respond to the

 19     e-mail?

 20                MS. MORGAN:    Object to form.                     14:43:16

 21                THE WITNESS:    I'm not -- I don't know.

 22     BY MS. VEROFF:

 23          Q.    And you mentioned that Sarah Stewart has

 24     left the Department of Education.

 25                Do you know why she left?                          14:43:20

                                                                   Page 122

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 124 of 140 PageID #: 11685


  1                MS. MORGAN:    Object to form.

  2                THE WITNESS:    She took another position --

  3     BY MS. VEROFF:

  4          Q.    And do you know where other position is?

  5                (Simultaneous speaking.)                                14:43:24

  6                (Interruption in audio/video.)

  7          A.    -- or another job.

  8                THE COURT REPORTER:       Excuse me.      There was

  9     speaking over.      I didn't get the rest of the

 10     answer.                                                            14:43:33

 11                THE WITNESS:    I said, "She took another

 12     job."

 13     BY MS. VEROFF:

 14          Q.    And I'm sorry for interrupting.

 15                Do you know where her new job is?                       14:43:38

 16          A.    She works with West Virginia legislature.

 17          Q.    And do you know what department or

 18     committee at the West Virginia legislature?

 19          A.    She's counsel for the senate president.

 20          Q.    And who is the senate president?                        14:43:59

 21          A.    Craig Blair.

 22          Q.    I see.

 23                And was Craig Blair the president of the

 24     senate at the time that H.B. 3293 was passed?

 25          A.    Yes, I believe so.                                      14:44:08

                                                                         Page 123

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 125 of 140 PageID #: 11686


  1          Q.    Great.

  2                And -- and I'm sorry if I didn't ask this

  3     earlier.

  4                Did you speak with Superintendent Burch in

  5     preparing for today's deposition?                              14:44:19

  6          A.    No.

  7          Q.    No.

  8                I just have a few last questions, and I

  9     think we can take another break.          And this is just

 10     about H.B. 3293.                                               14:44:29

 11                Under H.B. 3293, can cisgender girls play

 12     on girls' sports teams?

 13          A.    Sorry.   Could you repeat.

 14          Q.    Of course.

 15                Under H.B. 3293, can cisgender girls play           14:44:45

 16     on girls' sports teams?

 17          A.    Yes.

 18          Q.    Under H.B. 3293, can transgender girls

 19     play on girls' sports teams?

 20                MS. MORGAN:     Object to form.                     14:45:00

 21                MR. TRYON:     This -- this is David Tryon.

 22                Objection as to terminology.

 23                THE WITNESS:     Yes, according to

 24     statute they -- or no, according to statute, they

 25     cannot.                                                        14:45:09

                                                                     Page 124

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 126 of 140 PageID #: 11687


  1     BY MS. VEROFF:

  2          Q.    Thank you.

  3                And under H.B. 3293, can B.P.J., the

  4     plaintiff in this case, play on a girls' sports

  5     team?                                                         14:45:23

  6          A.    No.   According to this statute, no.

  7          Q.    And why can't she play on a girls' sports

  8     team?

  9                MS. MORGAN:     Object to form.

 10                THE WITNESS:     Because the statute would         14:45:32

 11     prohibit it.

 12     BY MS. VEROFF:

 13          Q.    If B.P.J. were a cisgender girl, could she

 14     play on girls' sports teams under H.B. 3293?

 15                MS. MORGAN:     Objection to form.                 14:45:40

 16                THE WITNESS:     According --

 17                MR. TRYON:     Objection.

 18                THE WITNESS:     According to what I read in

 19     the statute, yes.

 20     BY MS. VEROFF:                                                14:45:47

 21          Q.    Does the State Board believe that H.B.

 22     3293 is necessary?

 23                MS. MORGAN:     Object to form.

 24                THE WITNESS:     So we've not had an issue in

 25     the past is what we've -- we had said from -- you             14:45:59

                                                                   Page 125

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 127 of 140 PageID #: 11688


  1     know, throughout the thing, that it's not been a

  2     concern in West Virginia.

  3     BY MS. VEROFF:

  4          Q.    And does the State Board believe that H.B.

  5     3293 advances any important government interests?             14:46:10

  6                MS. MORGAN:     Object to form.

  7                THE WITNESS:     I'm not aware -- or I mean,

  8     I -- not that we're aware of.

  9     BY MS. VEROFF:

 10          Q.    Is it -- so just to confirm, do you mean           14:46:20

 11     that you're not aware of whether the State Board

 12     thinks that any important government interests are

 13     advanced, or do you mean that the State Board does

 14     not believe that any important government

 15     interests are advanced by H.B. 3293?                          14:46:34

 16          A.    There -- the State Board --

 17                MR. TRYON:     This is David Tryon.

 18     Objection to calls for a legal conclusion.

 19                MS. MORGAN:     Object form.

 20                THE WITNESS:     The -- the -- the State           14:46:42

 21     Board is not aware if there is or is not a

 22     relationship for -- for that.

 23     BY MS. VEROFF:

 24          Q.    Great.

 25                MS. VEROFF:     So I think at this time, I         14:46:51

                                                                   Page 126

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 128 of 140 PageID #: 11689


  1     think I'm -- I'm close to being finished.           So I'd

  2     like to suggest that we go off the record and take

  3     a five-minute break just so I can confer with

  4     co-counsel before we wrap up.

  5                Does that sound okay to everybody?                  14:47:07

  6                MS. MORGAN:    Okay.

  7                MR. TRYON:    Yes, I -- I needed some -- a

  8     break.   Thank you.

  9                THE VIDEOGRAPHER:      Okay.    We're going off

 10     the record.    The time is 2:47 p.m., and this is the          14:47:15

 11     end of Media Unit Number 3.

 12                (Short recess taken.)

 13                THE VIDEOGRAPHER:      We are back on the

 14     record at 3:01 p.m., and this is the beginning of

 15     Media Unit Number 4.                                           15:01:42

 16                Go ahead.

 17                MS. VEROFF:    Thank you so much, Ms. Blatt,

 18     for your time today.      I hope, as indicated, this

 19     was a fairly pain-free deposition.          And I've

 20     reached the end of my questioning.                             15:01:54

 21                Plaintiff would like to leave today's

 22     deposition open in -- in light of potential

 23     inadequacy of preparation issues.          And also I

 24     reserve my rights to ask questions following from

 25     any questions asked by the other parties or if                 15:02:08

                                                                     Page 127

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 129 of 140 PageID #: 11690


  1     there are any changes in the errata.

  2                But other than, I am finished, and so will

  3     turn it over to counsel for other parties.

  4                THE WITNESS:    Thank you.

  5                MS. MORGAN:    Just for a moment, we do not            15:02:19

  6     agree to leave this deposition open.            You have been

  7     allowed full opportunity to ask any questions

  8     pursuant to these 12 topics, and she's answered

  9     them fully.

 10                MS. VEROFF:    I'll just add for the record            15:02:31

 11     that the witness stated at the beginning of

 12     deposition when we were viewing the notice of

 13     examination -- or the topics of examination, that

 14     there was one topic that she did no preparation

 15     for.    And the witness also admitted that she didn't             15:02:41

 16     speak with any of the individuals featured in the

 17     discovery responses.

 18                MS. MORGAN:    I don't believe that she --

 19                MS. VEROFF:    Or she --

 20                MS. MORGAN:    -- actually has testified               15:02:52

 21     that she didn't prepare for any topics.              May- --

 22     there may not have been any documents to review to

 23     prepare.    But, you know, her testimony is what it

 24     is.    We're -- we're not agreeing to keep her

 25     deposition -- or a deposition of a 30(b)(6)                       15:03:08

                                                                        Page 128

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 130 of 140 PageID #: 11691


  1     representative open.

  2                Does anyone else have any other questions?

  3                           EXAMINATION

  4     BY MS. GREEN:

  5          Q.    This is Roberta Green, here on behalf of           15:03:24

  6     WVSSAC.    And, Ms. Blatt, I have a few questions

  7     for you.    Appreciate your patience.

  8                I've heard you testify to some things that

  9     referenced Bernie Dolan.

 10                Did you confer with Bernie Dolan today --          15:03:37

 11     or prior to your deposition today?

 12          A.    No.

 13          Q.    So in terms of who Mr. Dolan communicated

 14     with relative to the legislation, would you defer

 15     to Mr. Dolan identify those persons for himself?              15:03:54

 16          A.    Yes, I would.

 17          Q.    And in terms in your Deposition

 18     Exhibit 21, which is the Green Book, at page 23,

 19     there's a summary of House Bill 3293 that

 20     represents that the West Virginia Board Department            15:04:08

 21     of Education contact is Bernie Dolan.

 22                Do you recollect that document?

 23          A.    Yes.

 24          Q.    And as you sit here, do you understand

 25     that Bernie Dolan is not a West Virginia                      15:04:18

                                                                   Page 129

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 131 of 140 PageID #: 11692


  1     Department of Education employee?

  2            A.   I do.

  3            Q.   And are you aware of whether Mr. Dolan was

  4     aware he was listed in the Green Book as the West

  5     Virginia Department of Education contact relative                  15:04:30

  6     to House Bill 3293?

  7            A.   I'm not aware if he was or not.

  8            Q.   And in terms of any involvement Mr. Dolan

  9     had in preparing the bill summary that's listed in

 10     the Green Book at page 23, as you sit here, do you                 15:04:44

 11     know whether he had involv- -- any involvement at

 12     all?

 13            A.   I do not know if he did.

 14            Q.   And in terms of whether Mr. Dolan --

 15                 (Interruption in audio/video.)                         15:04:57

 16                 THE COURT REPORTER:     Excuse me.        Counsel,

 17     there was a cough and an interruption.              If you

 18     would please start over, please.

 19                 MS. GREEN:   Wow.   I don't know.         We --

 20     well, I could try or maybe something a little                      15:05:09

 21     different.

 22     BY MS. GREEN:

 23            Q.   So I can't even -- and I don't know

 24     whether I asked you whether Mr. -- you know

 25     whether Mr. Dolan ever even reviewed this bill                     15:05:22

                                                                         Page 130

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 132 of 140 PageID #: 11693


  1     summary that's in the Green Book at page 23.

  2          A.    I don't know that if he did.

  3          Q.    And I believe you testified that the State

  4     Board has no official relationship with WVSSAC; is

  5     that true?                                                    15:05:48

  6          A.    I said the relationship was in that we --

  7     the State Board approves the -- the rules for the

  8     SSAC.

  9          Q.    And other than that, no relationship; is

 10     that true?                                                    15:05:58

 11          A.    Yes.

 12          Q.    So you would defer to WVSSAC to answer its

 13     own questions relative to its internal practices

 14     and how it proceeds internally; is that true?

 15          A.    Yes.                                               15:06:12

 16          Q.    And you're not a 30(b) witness for SSAC,

 17     are you?

 18          A.    No, I'm not.

 19          Q.    All right.

 20                And in terms of whether SSAC has to comply         15:06:26

 21     with State rules, is it actually that the SSAC's

 22     member schools or the membership of SSAC has to

 23     comply with the State rules?         Do --

 24          A.    Yes, that would be -- that's how I would

 25     understand.       Our schools would have to comply with       15:06:44

                                                                   Page 131

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 133 of 140 PageID #: 11694


  1     the rules.

  2          Q.     Okay.     Very good.

  3                 And in terms of the 2.0 rule, I recollect

  4     you spoke to the 2.0 rule.

  5                 Do you recollect that testimony?                       15:06:54

  6          A.     Yes, that that was the only reference to

  7     sports participation that's in a State Board

  8     policy.

  9          Q.     All right.

 10                 And in terms of who actually has a --                  15:07:05

 11                 (Interruption in audio/video.)

 12                 THE COURT REPORTER:        Excuse me.     If you

 13     would please start over.           There was an interruption

 14     in audio.

 15     BY MS. GREEN:                                                      15:07:17

 16          Q.     So in terms of who actually has authority

 17     to enforce or waive the 2.0 rule, that would be

 18     the State Board; wouldn't it?

 19          A.     No.     That would be the authority of the --

 20     enforcement of the 2.0 rule lies with the schools                  15:07:35

 21     and with the counties, mainly with the schools who

 22     are reviewing the -- the records of the students.

 23          Q.     Okay.     And very good point.       Thank you for

 24     clarifying, not SSAC.

 25                 SSAC doesn't enforce the State Board's                 15:07:49

                                                                         Page 132

                                   Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 134 of 140 PageID #: 11695


  1     rules; correct?

  2                 MS. VEROFF:   Objection as to counsel

  3     testifying.

  4     BY MS. GREEN:

  5          Q.     State -- State Board rule, your one rule;         15:07:59

  6     is that true?

  7          A.     Elig- -- eligibility is determined at the

  8     school level.

  9          Q.     All right.

 10                 And in terms of -- I think during the             15:08:07

 11     pandemic, the State Board had waived or changed

 12     compliance with the 2.0 rule, and that was done by

 13     the State Board; wasn't it?

 14          A.     Yes.

 15          Q.     That's not SSAC doing that with your rule,        15:08:20

 16     was it?

 17          A.     No.

 18          Q.     And I'm not sure whether I asked you or

 19     not -- and maybe counsel will all object and tell

 20     me I did.                                                     15:08:38

 21                 But in terms of any sorts of

 22     communications Bernie Dolan had with the

 23     legislature or didn't have, any sort of e-mails

 24     Bernie Dolan sent, any sort of communication, you

 25     would defer to Mr. Dolan to speak for himself,                15:08:50

                                                                   Page 133

                                  Veritext Legal Solutions
                                       866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 135 of 140 PageID #: 11696


  1     would you not?

  2            A.     Yes.

  3            Q.     Thank you.     Appreciate it.

  4            A.     Thank you.

  5                   MS. GREEN:     No further questions at this             15:08:58

  6     time.       Thank you, all.

  7                   MR. TRYON:     Ms. Blatt, my name the David

  8     Tryon.       I don't see my video coming up yet.

  9     But anyways, my name is David Tryon, on behalf of

 10     the State of West Virginia.           Thank you very much             15:09:12

 11     for your time today.          We have no questions.        Thank

 12     you.

 13                   THE WITNESS:     Thank you.

 14                   MS. GREEN:     Good afternoon, Ms. Blatt.        My

 15     name is Susan Deniker.          I represent the Harrison              15:09:27

 16     County Board of Education and Superintendent

 17     Stutler.       Thank you for your time today.           I do not

 18     have any questions.

 19                   THE WITNESS:     Thank you.

 20                   MS. MORGAN:     So I have a few clarifying              15:09:37

 21     questions that I would like to ask Ms. Blatt.

 22                                EXAMINATION

 23     BY MS. MORGAN:

 24            Q.     You were asked about the 2.0 rule, both by

 25     plaintiff's counsel as well as counsel for SSAC.                      15:09:48

                                                                            Page 134

                                     Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 136 of 140 PageID #: 11697


  1     And just want to clarify.

  2                 That is a -- a rule that was promulgated

  3     by the West Virginia Board of Education; correct?

  4          A.     Yes.

  5          Q.     And it was -- it is to be implemented,            15:10:01

  6     enforced by who?

  7          A.     By this -- membership schools.

  8          Q.     Is that similar to what will happen in the

  9     future if a rule is promulgated by the Board of

 10     Education?                                                    15:10:19

 11          A.     Yes.

 12                 MS. VEROFF:   Objection as to form.

 13     BY MS. MORGAN:

 14          Q.     Has the State Board of Education ever

 15     discussed 3293 at a meeting -- discussed House                15:10:38

 16     Bill, that it was codified, 3293, at a board

 17     meeting?

 18          A.     No, they have not.

 19                 MS. VEROFF:   Objection.      Asked and

 20     answered.                                                     15:10:51

 21     BY MS. MORGAN:

 22          Q.     Have they taken any vote or action?

 23          A.     No, they have not.

 24          Q.     Has the department received any complaints

 25     about --                                                      15:11:07

                                                                   Page 135

                                  Veritext Legal Solutions
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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 137 of 140 PageID #: 11698


  1                MS. VEROFF:      Object- --

  2                (Simultaneous speaking.)

  3                (Interruption in audio/video.)

  4     BY MS. MORGAN:

  5          Q.    -- stu- -- has the State Board of                   15:11:12

  6     Education or the Department of Education received

  7     any complaints by any individuals about

  8     transgender athletes participating in sports?

  9          A.    No, we have not.

 10          Q.    When --                                             15:11:29

 11                MS. MORGAN:      Let's go off the record just

 12     for a moment.

 13                THE VIDEOGRAPHER:      Okay.    We're going off

 14     the record.     The time is 3:11 p.m.

 15                (Off the record.)                                   15:12:01

 16                THE VIDEOGRAPHER:      We're back on the

 17     record at 3:12 p.m.

 18                Go ahead.

 19     BY MS. MORGAN:

 20          Q.    Topic 8 states that it's about "Your                15:12:53

 21     Policies, Documents and Communications Concerning

 22     the separation of boys and girls in sports in West

 23     Virginia prior to and following the passage of

 24     H.B. 3293."     [As read]

 25                Are -- are there any policies, documents            15:13:11

                                                                     Page 136

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 138 of 140 PageID #: 11699


  1     or communications regarding that topic?

  2          A.    No, we do not have any.

  3          Q.    Did you prepare for that topic to testify

  4     here today?

  5          A.    Just in stating -- reviewing it, we do not               15:13:23

  6     have anything that relates to that in a policy.

  7          Q.    Okay.

  8                MS. MORGAN:    It's all the questions I

  9     have.

 10                THE COURT REPORTER:       May we go off the              15:13:40

 11     record, Counsel?

 12                THE WITNESS:    Go off the record?

 13                MS. MORGAN:    If everybody is done, I think

 14     we are done here.     And she'll read.

 15                THE VIDEOGRAPHER:      Okay, then.        We are off     15:13:52

 16     the record at 3:13 p.m.       This ends today's test- --

 17     testimony given by Michele Blatt.

 18                The total number of media used was four,

 19     and will be retained by Veritext Legal Solutions.

 20                (Proceedings concluded, 3:13 p.m., EST, on

 21     February 14, 2022.)

 22

 23

 24

 25

                                                                          Page 137

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Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 139 of 140 PageID #: 11700


  1                                      JURAT
  2
  3                  I, MICHELE BLATT, do hereby certify under
  4      penalty of perjury that I have read the foregoing
  5      transcript of my deposition taken remotely on the
  6      14th day of February, 2022; that I have made such
  7      corrections as appear noted herein in ink,
  8      initialed by me; that my testimony as contained
  9      herein, as corrected, is true and correct.
10
11                  Dated this _____ day of ____________, 2022,
12       at
13       ________________________________________________.
14
15
16
17
18
19                                    ____________________________
                                      MICHELE BLATT
20
21
22
23
24
25

                                                                 Page 138

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-00316 Document 289-19 Filed 04/21/22 Page 140 of 140 PageID #: 11701


  1                        CERTIFICATE OF REPORTER
  2                  I, Hanna Kim, a Certified Shorthand
  3      Reporter, do hereby certify:
  4                  That prior to being examined, the witness
  5      in the foregoing proceedings was by me duly sworn
  6      to testify to the truth, the whole truth, and
  7      nothing but the truth;
  8                  That said proceedings were taken before me
  9      at the time and place therein set forth and were taken
10       down by me in shorthand and thereafter transcribed
11       into typewriting under my direction and supervision;
12                   I further certify that I am neither
13       counsel for, nor related to, any party to said
14       proceedings, not in anywise interested in the
15       outcome thereof.
16                   Further, that if the foregoing pertains to
17       the original transcript of a deposition in a federal
18       case, before completion of the proceedings, review of
19       the transcript [X] was [ ] was not requested.
20                   In witness whereof, I have hereunto
21       subscribed my name.
22       Dated:      3rd day of March, 2022
23
24
                     <%6538,Signature%>
25                   Hanna Kim, CLR, CSR No. 13083

                                                                 Page 139

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